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                                             No. 21-2030

                 ____________________________________________________
                     IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FOURTH CIRCUIT
                 ____________________________________________________

                                     KESHA T. WILLIAMS

                                                       Plaintiff – Appellant

                                                  v.

                                   STACEY A. KINCAID, et al.

                                             Defendants-Appellees.
                   _________________________________________________

                     On Appeal from the United States District Court
                           for the Eastern District of Virginia
                       (Case No. 1:20-cv-1397, Hon. Claude Hilton)
         _________________________________________________________________

                                          JOINT APPENDIX


        Joshua Erlich                                  Alexander Francuzenko
        Davia Craumer                                  Philip C. Krone, Esq.
        Katherine L. Herrmann                          Cook, Craig, & Francuzenko, PLLC
        THE ERLICH LAW OFFICE, PLLC                    3050 Chain Bridge Road Suite 200
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        Arilngton, VA 22201                            Tel: (703)865-7480
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        Counsel for Plaintiff-Appellant
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        and Xin Wang……………………………………………………………….JA-053

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                                                                                    APPEAL,CLOSED,JURY

                                       U.S. District Court
                            Eastern District of Virginia - (Alexandria)
                     CIVIL DOCKET FOR CASE #: 1:20-cv-01397-CMH-TCB


 Williams v. Kincaid et al                                        Date Filed: 11/16/2020
 Assigned to: District Judge Claude M. Hilton                     Date Terminated: 08/18/2021
 Referred to: Magistrate Judge Theresa Carroll Buchanan           Jury Demand: Plaintiff
 Case in other court: 4th Circuit, 21-02030                       Nature of Suit: 446 Civil Rights: Americans
 Cause: 42:1983 Civil Rights Act                                  with Disabilities - Other
                                                                  Jurisdiction: Federal Question
 Plaintiff
 Kesha T. Williams                                  represented by Katherine Lynn Herrmann
                                                                   The Erlich Law Office PLLC
                                                                   2111 Wilson Blvd
                                                                   Suite 700
                                                                   Arlington, VA 22201
                                                                   703-791-9087
                                                                   Email: kherrmann@erlichlawoffice.com
                                                                   ATTORNEY TO BE NOTICED

                                                                  Joshua Harry Erlich
                                                                  The Erlich Law Office PLLC
                                                                  2111 Wilson Blvd
                                                                  Suite 700
                                                                  Arlington, VA 22201
                                                                  703-791-9087
                                                                  Email: jerlich@erlichlawoffice.com
                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Stacey A. Kincaid                                  represented by Alexander Francuzenko
 TERMINATED: 06/08/2021                                            Cook Craig & Francuzenko PLLC
                                                                   3050 Chain Bridge Road
                                                                   Suite 200
                                                                   Fairfax, VA 22030
                                                                   (703) 865-7480
                                                                   Fax: (703) 434-3510
                                                                   Email: alex@cookcraig.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                  Philip Corliss Krone
                                                                  Cook Craig & Francuzenko PLLC
                                                                  3050 Chain Bridge Road
                                                                  Suite 200
                                                                  Fairfax, VA 22030
                                                                  703-865-7480
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                                                                                            JA-001
USCA4 Appeal: 21-2030      Doc: 14          Filed: 12/01/2021     Pg: 4 of 65
                                                                  ATTORNEY TO BE NOTICED

                                                                  Thea Alicia Paolini
                                                                  Cook Craig & Francuzenko PLLC
                                                                  3050 Chain Bridge Road
                                                                  Suite 200
                                                                  Fairfax, VA 22030
                                                                  703-865-7480
                                                                  Fax: 703-434-3510
                                                                  Email: tpaolini@cookcraig.com
                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Maxim Healthcare Services, Inc.
 Defendant
 Does (1-15)
 Defendant
 Lishan Kassa, M.D.
 TERMINATED: 08/18/2021
 Defendant
 Xin Wang, NP                                      represented by Alexander Francuzenko
 TERMINATED: 08/18/2021                                           (See above for address)
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Deputy Garcia                                     represented by Alexander Francuzenko
 TERMINATED: 08/18/2021                                           (See above for address)
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED


  Date Filed     #   Docket Text
  11/16/2020     1 Complaint ( Filing fee $ 400, receipt number 0422-7499034.), filed by Kesha Williams.
                   (Attachments: # 1 Civil Cover Sheet)(Erlich, Joshua) (Entered: 11/16/2020)
  11/16/2020         Initial Case Assignment to District Judge Claude M. Hilton and Magistrate Judge Theresa
                     Carroll Buchanan. (pmil, ) (Entered: 11/17/2020)
  11/17/2020     2 MOTION for Discovery (Early) by Kesha T. Williams. (Attachments: # 1 Proposed Order)
                   (Erlich, Joshua) (Entered: 11/17/2020)
  11/17/2020     3 Memorandum in Support re 2 MOTION for Discovery (Early) filed by Kesha T. Williams.
                   (Erlich, Joshua) (Entered: 11/17/2020)
  11/17/2020     4 ORDER that pltf's 2 Motion for Leave to Conduct Limited Expedited Discovery is
                   GRANTED ; Pltf may immediately serve upon the Fairfax County Adult Detention Center
                   and Maxim Healthcare Services, Inc. a subpoena duces tecum for documents aimed at
                   identifying the true names and identities of the Doe Defendants. The Fairfax County Adult
                   Detention Center and Maxim Healthcare Services, Inc. shall both respond to the
                   requestsfor the production of documents within fifteen (15) business days of the date of
                                                                                             JA-002
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                   service of the requests (see Order for details). Signed by Magistrate Judge Theresa Carroll
                   Buchanan on 11/17/20. (pmil, ) (Entered: 11/17/2020)
  11/17/2020    5 NOTICE of Appearance by Katherine Lynn Herrmann on behalf of Kesha T. Williams
                  (Herrmann, Katherine) (Entered: 11/17/2020)
  12/11/2020    6 Proposed Summons re 1 Complaint to Defendant Stacey A. Kincaid by Kesha T. Williams.
                  (Herrmann, Katherine) (Entered: 12/11/2020)
  12/11/2020    7 Proposed Summons re 1 Complaint to Defendant Maxim Healthcare Services, Inc. by
                  Kesha T. Williams. (Herrmann, Katherine) (Entered: 12/11/2020)
  12/14/2020    8 Summons Issued as to Stacey A. Kincaid, Maxim Healthcare Services, Inc. NOTICE TO
                  ATTORNEY: Print out two electronically issued summons and one copy of the attachment
                  for each defendant to be served with the complaint. (Attachments: # 1 Notice)(pmil, )
                  (Entered: 12/14/2020)
  12/21/2020    9 NOTICE of Appearance by Alexander Francuzenko on behalf of Stacey A. Kincaid
                  (Francuzenko, Alexander) (Entered: 12/21/2020)
  12/21/2020   10 NOTICE of Appearance by Philip Corliss Krone on behalf of Stacey A. Kincaid (Krone,
                  Philip) (Entered: 12/21/2020)
  01/07/2021   11 Consent MOTION for Extension of Time to File Response/Reply by Stacey A. Kincaid.
                  (Francuzenko, Alexander) (Entered: 01/07/2021)
  01/07/2021   12 Memorandum in Support re 11 Consent MOTION for Extension of Time to File
                  Response/Reply filed by Stacey A. Kincaid. (Attachments: # 1 Proposed Order)
                  (Francuzenko, Alexander) (Entered: 01/07/2021)
  01/07/2021   13 MOTION for Protective Order by Stacey A. Kincaid. (Francuzenko, Alexander) (Entered:
                  01/07/2021)
  01/07/2021   14 Memorandum in Support re 13 MOTION for Protective Order filed by Stacey A. Kincaid.
                  (Attachments: # 1 Proposed Order)(Francuzenko, Alexander) (Entered: 01/07/2021)
  01/07/2021   15 STIPULATED PROTECTIVE ORDER: re the handling and labeling of confidential
                  material. (see Order for complete details) Signed by Magistrate Judge Theresa Carroll
                  Buchanan on 1/7/21. (tfitz, ) (Entered: 01/07/2021)
  01/07/2021   16 ORDER granting 11 Consent Motion for Extension of Time; Defendant has until Friday,
                  January 22, 2021 to file a responsive pleading to Plaintiffs complaint. Signed by Magistrate
                  Judge Theresa Carroll Buchanan on 01/07/21. (pmil, ) (Entered: 01/07/2021)
  01/22/2021   17 MOTION to Dismiss by Stacey A. Kincaid. (Krone, Philip) (Entered: 01/22/2021)
  01/22/2021   18 Memorandum in Support re 17 MOTION to Dismiss filed by Stacey A. Kincaid. (Krone,
                  Philip) (Entered: 01/22/2021)
  01/22/2021   19 Notice of Hearing Date re 17 MOTION to Dismiss (Krone, Philip) (Entered: 01/22/2021)
  01/25/2021       Set Deadlines as to 17 MOTION to Dismiss . Motion Hearing set for 2/26/2021 at 10:00
                   AM in Alexandria Courtroom 800 before District Judge Claude M. Hilton. (clar, )
                   (Entered: 01/25/2021)
  02/05/2021   20 Opposition to 17 MOTION to Dismiss filed by Kesha T. Williams. (Herrmann, Katherine)
                  (Entered: 02/05/2021)
  02/12/2021   21 AMENDED COMPLAINT against Stacey A. Kincaid, Lishan Kassa, M.D., Xin Wang,
                  NP, Deputy Garcia, filed by Kesha T. Williams.(Herrmann, Katherine) (Entered:
                  02/12/2021)
                                                                                              JA-003
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  02/12/2021   22 Proposed Summons re 21 Amended Complaint to Defendant Deputy Garcia by Kesha T.
                  Williams. (Herrmann, Katherine) (Entered: 02/12/2021)
  02/12/2021   23 Proposed Summons re 21 Amended Complaint to Defendant Lishan Kassa, M.D. by Kesha
                  T. Williams. (Herrmann, Katherine) (Entered: 02/12/2021)
  02/12/2021   24 Proposed Summons re 21 Amended Complaint to Defendant Xin Wang, NP by Kesha T.
                  Williams. (Herrmann, Katherine) (Entered: 02/12/2021)
  02/12/2021   25 MOTION for Extension of Time to Serve Amended Complaint by Kesha T. Williams.
                  (Attachments: # 1 Proposed Order)(Herrmann, Katherine) (Entered: 02/12/2021)
  02/12/2021   26 Waiver of re 25 MOTION for Extension of Time to Serve Amended Complaint (Waiver of
                  Hearing) by Kesha T. Williams (Herrmann, Katherine) (Entered: 02/12/2021)
  02/16/2021   27 ORDER granting 25 Motion for Extension of Time to File. ORDERED that Plaintiff has an
                  additional 30 days in which to serve Defendants, until March 18, 2021. Signed by
                  Magistrate Judge Theresa Carroll Buchanan on 02/16/2021. (kgall) (Entered: 02/16/2021)
  02/16/2021   28 Summons Issued as to Deputy Garcia, Lishan Kassa, M.D., Xin Wang, NP. NOTICE TO
                  ATTORNEY: Print out two electronically issued summons and one copy of the attachments
                  for each defendant to be served with the complaint. (Attachments: # 1 Notice of Lawsuit)
                  (kgall) (Entered: 02/16/2021)
  02/22/2021       Per CMH chambers motions set for 2/26/2021 on the pleadings (clar, ) (Entered:
                   02/22/2021)
  02/23/2021   29 ORDERED that Defendant's Motion to Dismiss 17 the original Complaint is DENIED as
                  moot. Signed by District Judge Claude M. Hilton on 2/23/2021. (kgall) (Entered:
                  02/23/2021)
  02/26/2021   30 MOTION to Dismiss for Failure to State a Claim by Stacey A. Kincaid. (Francuzenko,
                  Alexander) (Entered: 02/26/2021)
  02/26/2021   31 Memorandum in Support re 30 MOTION to Dismiss for Failure to State a Claim filed by
                  Stacey A. Kincaid. (Francuzenko, Alexander) (Entered: 02/26/2021)
  02/26/2021   32 Notice of Hearing Date re 30 MOTION to Dismiss for Failure to State a Claim
                  (Francuzenko, Alexander) (Entered: 02/26/2021)
  03/01/2021       Set Deadlines as to 30 MOTION to Dismiss for Failure to State a Claim . Motion Hearing
                   set for 4/23/2021 at 10:00 AM in Alexandria Courtroom 800 before District Judge Claude
                   M. Hilton. (clar, ) (Entered: 03/01/2021)
  03/09/2021   33 SCHEDULING ORDER: Initial Pretrial Conference set for 3/31/2021 at 11:00 AM in
                  Alexandria Courtroom 500 before Magistrate Judge Theresa Carroll Buchanan. Final
                  Pretrial Conference set for 7/15/2021 at 10:00 AM in Alexandria Courtroom 800 before
                  District Judge Claude M. Hilton. Discovery due by 7/9/2021. Signed by District Judge
                  Claude M. Hilton on 03/09/2021. (Attachments: # 1 Pretrial Notice, # 2 Magistrate Judge
                  Consent Form)(jlan) (Entered: 03/09/2021)
  03/12/2021   34 Memorandum in Opposition re 30 MOTION to Dismiss for Failure to State a Claim filed
                  by Kesha T. Williams. (Herrmann, Katherine) (Entered: 03/12/2021)
  03/12/2021   35 CERTIFICATE of Service (Corrected) re 34 Memorandum in Opposition by Katherine
                  Lynn Herrmann on behalf of Kesha T. Williams (Herrmann, Katherine) (Entered:
                  03/12/2021)
  03/18/2021   36 NOTICE of Appearance by Alexander Francuzenko on behalf of Stacey A. Kincaid
                  (Francuzenko, Alexander) (Entered: 03/18/2021)
                                                                                           JA-004
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  03/18/2021   37 Reply to 34 Memorandum in Opposition filed by Stacey A. Kincaid. (Francuzenko,
                  Alexander) (Entered: 03/18/2021)
  03/18/2021   38 NOTICE of Appearance by Thea Alicia Paolini on behalf of Stacey A. Kincaid (Paolini,
                  Thea) (Entered: 03/18/2021)
  03/24/2021   39 Proposed Joint Rule 16 Discovery Plan by Stacey A. Kincaid.(Francuzenko, Alexander)
                  (Entered: 03/24/2021)
  03/24/2021   40 Rule 16(b) Scheduling Order - Pursuant to the Rule 16(b) Conference it is ordered that
                  Upon consideration of the representations made by the parties in the Proposed Joint Rule
                  16 Discovery Plan (Dkt. 39) and taking note of the Scheduling Order (Dkt. 33) entered in
                  this case, the Court makes the following rulings: 1. All discovery shall be concluded by
                  Friday, July 9, 2021. 2. The Proposed Joint Rule 16 Discovery Plan filed by the parties is
                  approved and shall control discovery to the extent of its application unless further modified
                  by the Court. 3. The pretrial conference scheduled for Wednesday, March 31, 2021 at 11:00
                  a.m. is cancelled. 4. All Fed. R. Civ. P. 26(a)(1) disclosures shall be completed by
                  Thursday, April 15, 2021. 5. No general objection may be asserted in response to any
                  discovery demand except to preserve the attorney-client privilege and work product
                  protection. Signed by Magistrate Judge Theresa Carroll Buchanan on 3/24/21. (tfitz, )
                  (Entered: 03/25/2021)
  04/02/2021   41 MOTION to Dismiss for Failure to State a Claim Plaintiff's Amended Complaint by
                  Deputy Garcia. (Francuzenko, Alexander) (Entered: 04/02/2021)
  04/02/2021   42 Memorandum in Support re 41 MOTION to Dismiss for Failure to State a Claim Plaintiff's
                  Amended Complaint filed by Deputy Garcia. (Francuzenko, Alexander) (Entered:
                  04/02/2021)
  04/02/2021   43 MOTION to Dismiss for Failure to State a Claim Plaintiff's Amended Complaint by Xin
                  Wang, NP. (Francuzenko, Alexander) (Entered: 04/02/2021)
  04/02/2021   44 Memorandum in Support re 43 MOTION to Dismiss for Failure to State a Claim Plaintiff's
                  Amended Complaint filed by Xin Wang, NP. (Francuzenko, Alexander) (Entered:
                  04/02/2021)
  04/08/2021   45 SUMMONS Returned Executed by Kesha T. Williams Deputy Garcia served on
                  3/12/2021, answer due 4/2/2021 (Herrmann, Katherine) (Entered: 04/08/2021)
  04/08/2021   46 SUMMONS Returned Executed by Kesha T. Williams Xin Wang, NP served on 3/12/2021,
                  answer due 4/2/2021 (Herrmann, Katherine) (Entered: 04/08/2021)
  04/19/2021   47 Memorandum in Opposition re 41 MOTION to Dismiss for Failure to State a Claim
                  Plaintiff's Amended Complaint (Deputy Garcia) filed by Kesha T. Williams. (Attachments:
                  # 1 Exhibit 1, # 2 Exhibit 2)(Herrmann, Katherine) (Entered: 04/19/2021)
  04/19/2021   48 Memorandum in Opposition re 43 MOTION to Dismiss for Failure to State a Claim
                  Plaintiff's Amended Complaint (Xin Wang) filed by Kesha T. Williams. (Attachments: # 1
                  Exhibit 1, # 2 Exhibit 2)(Herrmann, Katherine) (Entered: 04/19/2021)
  04/22/2021       Per CMH chambers motions set for 4/23/2021 on the pleadings (clar, ) (Entered:
                   04/22/2021)
  04/26/2021   49 Response to 47 Memorandum in Opposition, to Motion to Dismiss filed by Deputy Garcia.
                  (Francuzenko, Alexander) (Entered: 04/26/2021)
  04/26/2021   50 Response to 48 Memorandum in Opposition to Motion to Dismiss filed by Xin Wang, NP.
                  (Francuzenko, Alexander) (Entered: 04/26/2021)
  06/07/2021   51 MEMORANDUM OPINION. Signed by District Judge Claude M. Hilton on 6/7/2021.
                                                                                              JA-005
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                   (kgall) (Entered: 06/07/2021)
  06/07/2021   52 ORDER granting 30 Motion to Dismiss for Failure to State a Claim. Plaintiff's causes of
                  action against Defendant Kincaid are dismissed. Signed by District Judge Claude M.
                  Hilton on 6/7/2021. (kgall) (Entered: 06/08/2021)
  06/25/2021   53 MOTION to Compel Discovery Responses by Kesha T. Williams. (Attachments: # 1
                  Proposed Order)(Herrmann, Katherine) (Entered: 06/25/2021)
  06/25/2021   54 Memorandum in Support re 53 MOTION to Compel Discovery Responses filed by Kesha
                  T. Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Herrmann,
                  Katherine) (Entered: 06/25/2021)
  06/25/2021   55 Notice of Hearing Date set for 07/02/2021 re 53 MOTION to Compel Discovery
                  Responses (Herrmann, Katherine) (Entered: 06/25/2021)
  06/25/2021       Set Deadlines as to 53 MOTION to Compel Discovery Responses. Motion Hearing set for
                   7/2/2021 at 10:00 AM in Alexandria Courtroom 501 before Magistrate Judge Theresa
                   Carroll Buchanan. (clar, ) (Entered: 06/28/2021)
  06/25/2021       MOTIONS REFERRED to Magistrate Judge: Buchanan. 53 MOTION to Compel
                   Discovery Responses (clar, ) (Entered: 06/28/2021)
  06/30/2021   56 Joint MOTION for Extension of Time to Complete Discovery by Kesha T. Williams.
                  (Attachments: # 1 Proposed Order)(Herrmann, Katherine) (Entered: 06/30/2021)
  06/30/2021   57 Memorandum in Support re 56 Joint MOTION for Extension of Time to Complete
                  Discovery filed by Kesha T. Williams. (Herrmann, Katherine) (Entered: 06/30/2021)
  06/30/2021   58 Reply to Motion re 53 MOTION to Compel Discovery Responses filed by Deputy Garcia,
                  Xin Wang, NP. (Attachments: # 1 Proposed Order)(Francuzenko, Alexander) (Entered:
                  06/30/2021)
  06/30/2021   59 Waiver of re 56 Joint MOTION for Extension of Time to Complete Discovery - Oral
                  Argument by Kesha T. Williams (Herrmann, Katherine) (Entered: 06/30/2021)
  06/30/2021   60 ORDERED that Defendants will serve their answers to Plaintiff's First Set of
                  Interrogatories and produce responsive documents to Plaintiff's First Set of Requests for
                  Production by the close of business on Tuesday, July 6, 2021; it is further ORDERED that
                  Plaintiff's Motion to Compel Dkt. 53 is DENIED AS MOOT; and it is further
                  ORDERED that the hearing scheduled for Friday, July 2, 2021 is CANCELLED. Signed
                  by Magistrate Judge Theresa Carroll Buchanan on 6/30/2021. (dest) (Entered: 07/01/2021)
  07/01/2021   61 ORDERED that the Motion Dkt. 56 is GRANTED IN PART; it is further ORDERED
                  that the discovery period is EXTENDED to Friday, August 13, 2021; and it is further
                  ORDERED that the final pretrial conference is RESCHEDULED for Thursday, August
                  19, 2021 at 10:00 am. Signed by Magistrate Judge Theresa Carroll Buchanan on 7/1/2021.
                  (swil) (Entered: 07/01/2021)
  07/01/2021       Set Hearings Final Pretrial Conference set for 8/19/2021 at 10:00 AM in Alexandria
                   Courtroom 500 before Magistrate Judge Theresa Carroll Buchanan. (swil) (Entered:
                   07/01/2021)
  07/01/2021   62 Notice of Hearing Date set for July 9, 2021 re 41 MOTION to Dismiss for Failure to State
                  a Claim Plaintiff's Amended Complaint, 43 MOTION to Dismiss for Failure to State a
                  Claim Plaintiff's Amended Complaint (Francuzenko, Alexander) (Entered: 07/01/2021)
  07/01/2021       Set Deadlines as to 43 MOTION to Dismiss for Failure to State a Claim Plaintiff's
                   Amended Complaint, 41 MOTION to Dismiss for Failure to State a Claim Plaintiff's

                                                                                           JA-006
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                   Amended Complaint. Motion Hearing set for 7/9/2021 at 10:00 AM in Alexandria
                   Courtroom 800 before District Judge Claude M. Hilton. (clar, ) (Entered: 07/02/2021)
  07/07/2021       Per CMH chambers motions set for 7/9/2021 on the pleadings (clar, ) (Entered:
                   07/07/2021)
  08/02/2021   63 Joint MOTION for Extension of Time to Complete Discovery by Kesha T. Williams.
                  (Attachments: # 1 Proposed Order)(Herrmann, Katherine) (Entered: 08/02/2021)
  08/02/2021   64 Memorandum in Support re 63 Joint MOTION for Extension of Time to Complete
                  Discovery filed by Kesha T. Williams. (Herrmann, Katherine) (Entered: 08/02/2021)
  08/03/2021   65 ORDERED that the Motion 63 is GRANTED. ORDERED that the discovery period in this
                  matter is EXTENDED forty-five (45) days, or until Monday, September 27, 2021. Signed
                  by Magistrate Judge Theresa Carroll Buchanan on 8/3/2021. (kgall) (Entered: 08/04/2021)
  08/18/2021   66 Consent MOTION Reschedule Final Pretrial Conference by Kesha T. Williams.
                  (Attachments: # 1 Proposed Order)(Erlich, Joshua) (Entered: 08/18/2021)
  08/18/2021   67 MEMORANDUM OPINION. Signed by District Judge Claude M. Hilton on 8/18/2021.
                  (kgall) (Entered: 08/18/2021)
  08/18/2021   68 ORDERED that the 41 , 43 Motions to Dismiss of Defendants Xin Wangand Deputy
                  Garcia are GRANTED, Defendants are dismissed from this action. Signed by District
                  Judge Claude M. Hilton on 8/18/2021. (kgall) (Entered: 08/18/2021)
  08/18/2021   69 ORDERED that Defendant Lishan Kassa, M.D. is dismissed pursuant to F.R.Civ.P. 4(m).
                  Signed by District Judge Claude M. Hilton on 8/18/2021. (kgall) (Entered: 08/18/2021)
  09/16/2021   70 NOTICE OF APPEAL as to 52 Order on Motion to Dismiss for Failure to State a Claim,
                  68 Order on Motion to Dismiss for Failure to State a Claim, by Kesha T. Williams. Filing
                  fee $ 505, receipt number AVAEDC-8000634. (Herrmann, Katherine) (Entered:
                  09/16/2021)
  09/17/2021   71 Transmission of Notice of Appeal to US Court of Appeals re 70 Notice of Appeal, (All
                  case opening forms, plus the transcript guidelines, may be obtained from the Fourth
                  Circuit's website at www.ca4.uscourts.gov) (kgall) (Entered: 09/17/2021)
  09/20/2021   72 USCA Case Number 21-2030 4th Circuit, case manager A. Brownleee for 70 Notice of
                  Appeal, filed by Kesha T. Williams. (kgall) (Entered: 09/20/2021)



                                           PACER Service Center
                                                Transaction Receipt
                                                   11/09/2021 15:54:22
                        PACER
                                       klh817klh      Client Code:
                        Login:
                                       Docket         Search             1:20-cv-01397-CMH-
                        Description:
                                       Report         Criteria:          TCB
                        Billable
                                       6              Cost:              0.60
                        Pages:




                                                                                              JA-007
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                                  UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

        KESHA T. WILLIAMS                          )
                                                   )
               Plaintiff,                          )
                                                   )
                       v.                          )
                                                   ) CIVIL ACTION NO. 1:20-cv-01397 (CMH/TCB)
        STACEY A. KINCAID;                         )
                                                   )      AMENDED COMPLAINT
               Serve:                              )
               Stacey A. Kincaid                   )      JURY TRIAL DEMAND
               Fairfax County Sheriff’s Office     )
               4110 Chain Bridge Road              )
               Fairfax, VA 22030                   )
                                                   )
        In her official capacity;                  )
                                                   )
        and                                        )
                                                   )
        LISHAN KASSA, MD,                          )
                                                   )
               Serve:                              )
               Lishan Kassa, MD                    )
               4735 Valley Street                  )
               Alexandria, VA 22312                )
                                                   )
        In her individual and official capacity;   )
                                                   )
        and                                        )
                                                   )
        XIN WANG, NP,                              )
                                                   )
               Serve:                              )
               Xin Wang, NP                        )
               25767 Tullow Place                  )
               Chantilly, VA 20152                 )
                                                   )
        In her individual and official capacity;   )
                                                   )
        and                                        )
                                                   )
        DEPUTY GARCIA,                             )
                                                   )




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               Serve:                                 )
               Deputy Garcia                          )
               Fairfax County Sheriff’s Office        )
               4110 Chain Bridge Road                 )
               Fairfax, VA 22030                      )
                                                      )
        In his individual and official capacity;      )
                                                      )
               Defendants.                            )
                                                      )

                                            AMENDED COMPLAINT

               Plaintiff Kesha T. Williams (“Ms. Williams,” or “Plaintiff”), by counsel, and for her

        Amended Complaint against Fairfax County Sheriff Stacey A. Kincaid (“Kincaid”), Xin Wang,

        NP (“NP Wang”), Lishan Kassa, MD (“Dr. Kassa”), Deputy Garcia (“Garcia,” collectively,

        “Defendants”), states as follows:

                                         STATEMENT OF THE CASE

               1.      Ms. Williams’ suffered unconstitutional treatment while incarcerated at the

        Fairfax County Adult Detention Center (“FCADC”) in 2018 and 2019. Ms. Williams, a

        transgender woman, should have been housed according to her gender as legally recognized by

        the State of Maryland and, even if her gender had not been legally recognized, she should have

        been housed according to her self-identification as a woman.

               2.      Instead, Kincaid, by and through the staff she oversees and the policies she

        promulgates, housed Ms. Williams in FCADC’s male housing. This decision is plainly

        unconstitutional, but it also raises issues of disability discrimination as Ms. Williams suffers

        from gender dysphoria, a disability suffered by many (but certainly not all) transgender people.

               3.      The decision to house Ms. Williams in male housing created the necessity to

        provide reasonably accommodations for her gender dysphoria. Critically, the need to




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        accommodate Ms. Williams would likely not have been necessary if she had been placed in

        female housing.

               4.      Once Defendants created the need for Ms. Williams’ accommodation through

        their unconstitutional actions, they then failed to meet their statutory duties under the Americans

        with Disabilities Act Amendments Act of 2008, 42 U.S.C. § 12101, et seq., and/or Section 504

        of the Rehabilitation Act, 29 U.S.C. § 794a.

               5.      Ms. Williams simply sought humane conditions at FCADC; conditions that would

        allow her to maintain her dignity. Defendants failed her.



                                             NATURE OF ACTION

               6.      This is an action under 42 U.S.C. § 1983 (“Section 1983”) stemming from the

        treatment of Ms. Williams during her incarceration at the FCADC. Ms. Williams seeks relief due

        to Defendants’ failure to provide medical treatment in violation of the Eighth Amendment to the

        United States Constitution. Ms. Williams further seeks relief for Equal Protection violations

        based on her sex under the Fourteenth Amendment.

               7.      This action states an additional claim under the Americans with Disabilities Act

        Amendments Act of 2008, 42 U.S.C. § 12101, et seq., and/or Section 504 of the Rehabilitation

        Act, 29 U.S.C. § 794a, for Defendants’ discrimination against Ms. Williams in violation of these

        Acts based on her disability, as well as a claim arising from Defendants’ gross negligence in

        violation of the common law of Virginia.




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                                                    PARTIES
               8.      Plaintiff Kesha T. Williams (“Ms. Williams,” or “Plaintiff”), at all times relevant

        to this Complaint, was incarcerated by the Fairfax County Sheriff’s Office at the Fairfax County

        Adult Detention Center in Fairfax County, Virginia.

               9.      Ms. Williams is a transgender woman, an individual whose gender identity

        (female) is different from the gender (male) assigned to her at birth.

               10.     Ms. Williams has completed a legal name change to her current name and a legal

        change in her gender markers in her resident state of Maryland. Her driver’s license bears the

        designation of “female.” In all ways, the law recognizes Ms. Williams’ as a woman.

               11.     As an individual whose gender identity is female, Ms. Williams identifies as a

        woman, expresses her gender identity as a woman, and lives full-time as a woman.

               12.     Ms. Williams suffers from gender dysphoria, which is “discomfort or distress that

        is caused by a discrepancy between a person’s gender identity and that person’s sex assigned at

        birth (and the associated gender role and/or primary and secondary sex characteristics.”1

               13.     Gender dysphoria can in large part be alleviated through treatment, including

        hormone therapy.

               14.     Ms. Williams sought to continue her ongoing treatment for gender dysphoria

        while in custody of FCADC. Ms. Williams’ treatment consisted primarily of a hormone therapy,

        which she used to effectively manage and alleviate the gender dysphoria she experienced.

               15.     Ms. Williams also sought accommodations for her condition from FCADC after

        being placed in male housing. These accommodations included access to female items such as



        1
         This definition of gender dysphoria is provided by the World Professional Association for
        Transgender Health (“WPATH”) Standards of Care, 7th version. For more information about
        WPATH and WPATH Standards of Care, please see Paragraph 24, infra.
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        undergarments, searches conducted by female, rather than male, Sheriff’s deputies, and the

        ability to shower privately.

                16.    Kincaid is the Sheriff of Fairfax County, and is the independent constitutional

        officer responsible for the operation of FCADC pursuant to Virginia law.

                17.    Defendant Deputy Garcia (“Garcia”), at all times relevant to this Complaint, was,

        working for the Fairfax County Sheriff’s Office, and was a person subject to suit under Section

        1983.

                18.    At all times relevant to this Complaint, Garcia was in uniform and displaying his

        badge of authority.

                19.    At all times relevant to this Complaint, Garcia was acting under color of state law.

                20.    Under Virginia law, Kincaid is responsible for establishing minimum

        performance standards and management practices to govern the deputies for whom she is

        responsible.

                21.    Defendants NP Wang and Dr. Kassa were, at all relevant times, medical

        professionals who were employed or contracted by the Fairfax County Sheriff’s Office to

        provide medical treatment to inmates at FCADC.

                22.    Defendants NP Wang and Dr. Kassa were the individuals primarily responsible

        for Ms. William’s medical treatment and participated in the denial to her of adequate and

        necessary medical treatment for gender dysphoria.

                23.    Kincaid, by and through the deputies and jail employees who work under her

        authority, including Defendant Deputy Garcia, were, at all times relevant to this Complaint,

        responsible for the implementation of the FCADC’s policies and procedures, as well as the

        welfare of inmates, including Ms. Williams.



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                                          JURISDICTION AND VENUE

                24.     This Court has federal question jurisdiction over the subject matter of this

        complaint pursuant to 28 U.S.C. § 1331, because this action asserts a deprivation of one or more

        federal constitutional rights under Section 1983.

                25.     This Court has supplemental jurisdiction over Ms. Williams’ state law claims

        against Defendants under 28 U.S.C. § 1367(a) because the facts of the federal and state claims

        both occurred in this judicial district and form part of the same case or controversy.

                26.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the events

        described in this action took place within this judicial district.



                                                       FACTS

        Standards of Care Applicable to Gender Dysphoria

                27.     The World Professional Association for Transgender Health (“WPATH”) is the

        leading international organization focused on transgender health care. WPATH has more than

        1,000 members throughout the world consisting of physicians, psychiatrists, psychologists, social

        workers, surgeons, and other health professionals who specialize in the diagnosis and treatment

        of gender dysphoria. WPATH’s Standards of Care (the “Standards of Care”) are the prevailing

        standards of care used by mental health providers and medical professionals treating gender

        dysphoria.

                28.     The Standards of Care require that a competent medical professional with

        knowledge and expertise in gender dysphoria evaluate a patient for appropriate and necessary

        treatment options.




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                29.     Medical treatment options vary and are often medically necessary. An individual

        with gender dysphoria may require feminization or masculinization of the body through hormone

        therapy and/or surgery to alleviate and effectively treat the condition.

                30.     With effective treatment, individuals diagnosed with gender dysphoria are able to

        perform all major life activities.



        Ms. Williams’ Housing Classification

                31.     Ms. Williams was booked into FCADC on November 16, 2018.

                32.     On this date, a Fairfax County Sheriff’s Deputy provided Ms. Williams with the

        standard prison uniform provided to all female inmates, including 3 bras and 3 sets of female

        underwear.

                33.     Ms. Williams was initially searched by a female deputy and escorted to the female

        side of the facility.

                34.     Later that same day, November 16, 2018, Ms. Williams underwent an initial

        medical evaluation pursuant to FCADC policy.

                35.     During this evaluation, Ms. Williams informed the medical provider, NP Wang,

        that she is transgender, that she lives full-time as a woman and identifies as a woman, that she

        has been on hormone treatment for the past fifteen (15) years, and that her current hormone

        medication regimen consists of a daily pill and a bi-weekly injection.

                36.     After learning Ms. Williams is transgender, NP Wang asked Ms. Williams

        whether she had undergone bottom surgery or if she still had the genitalia with which she was

        born.




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               37.     Kincaid, as the individual responsible for policy and training at FCADC,

        maintains a policy wherein transgender inmates are housed based on their genitalia.

               38.     Specifically, Fairfax County Sheriff’s Office Standard Operating Procedure 606

        on “Transgender and Gender Non-Conforming Inmates” provides it is the policy of the Fairfax

        County Sheriff’s Office that “[m]ale inmates shall be classified as such if they have male

        genitals” and “[f]emale inmates shall be classified as such if they have female genitals.” SOP

        606, Section II.E and Section II.F, respectively.

               39.     After hearing Ms. Williams’ answers, NP Wang changed Ms. Williams’ records

        and labeled her as “male” for the purposes of housing classification.

               40.     Sheriff’s deputies at FCADC and NP Wang refer to Ms. Williams interchangeably

        as “male” and “female,” as well as using both male and female pronouns, throughout her medical

        and carceral records.

               41.     Sheriff’s deputies at FCADC proceeded to place Ms. Williams in male housing

        based solely on the determination by NP Wang that Ms. Williams had male genitalia.

               42.     Sheriff’s deputies placed Ms. Williams in male housing without performing an

        assessment to determine Ms. Williams’ vulnerability in the general jail population of the male

        unit for the purpose of ensuring Ms. Williams’ safety and security.

               43.     As a result of this housing reclassification, FCADC policy required Ms. Williams

        to return the female clothing she had been provided and replaced it with the same uniform worn

        by “male” inmates.

               44.     Fairfax County Sheriff’s Office policy provides that transgender and gender non-

        conforming inmates are to receive undergarments consistent with the gender of their housing

        assignment. Specifically, the policy states:



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                        Transgender and gender non-conforming inmates shall be provided
                        standard jail attire and privileges consistent with the gender of their
                        housing assignment. Inmates under hormone therapy with
                        secondary sexual characteristics, such as breasts, may be provided
                        appropriate undergarments, such as a bra, when clinically indicated
                        by appropriate medical staff.

        SOP 606, Section IV.B.

                45.     After Ms. Williams was forced to return the bras she was initially issued, Ms.

        Williams requested a bra from NP Wang as an accommodation. NP Wang instructed Ms.

        Williams to purchase a bra from the commissary.



        Cessation of Ms. Williams’ Ongoing Hormone Therapy Treatment Upon Incarceration

                46.     Ms. Williams brought the medication required for treatment of her gender

        dysphoria with her on the date of her booking into FCADC.

                47.     Sheriff’s deputies at FCADC asked Ms. Williams to store her medication in her

        locker along with other personal belongings prior to her incarceration.

                48.     Upon her initial medical evaluation, Ms. Williams informed NP Wang that she

        had brought her medication with her and that it had been stored with her personal belongings at

        the facility.

                49.     NP Wang did not permit Ms. Williams to retrieve the medication required for

        treatment of her gender dysphoria in order to prevent a lapse in her hormone therapy treatment.

                50.     Fairfax County Sheriff’s Office policy provides that “[t]ransgender or gender non-

        conforming inmates who were receiving hormone treatment and therapy at the time of their

        incarceration shall be referred to an appropriate medical doctor for further evaluation.” SOP 606,

        Section IV.C.




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               51.     Ms. Williams completed a medical records release form on November 16, 2018

        authorizing FCADC personnel to obtain information about Ms. Williams’ hormone treatment

        from her personal medical provider.

               52.     NP Wang’s treatment notes indicate FCADC health care staff were to contact Ms.

        Williams’ physician and follow up with Ms. Williams once her medical records were received.

               53.     NP Wang did not consult Ms. Williams’ medical records or physician prior to

        stopping her hormone treatment.

               54.     Pursuant to WPATH’s Standards of Care, the consequences of abrupt withdrawal

        of hormones when medically necessary include a high likelihood of negative outcomes such as

        surgical self-treatment by autocastration, depressed mood, dysphoria, and/or suicidality.

               55.     On or about December 1, 2018, Ms. Williams requested a visit from a nurse,

        known as a “sick call visit,” due to symptoms she was experiencing as a result of the sudden

        cessation of her hormone therapy treatment.

               56.     The following day, a nurse responded to Ms. Williams’ request and advised her to

        again fill out a medical records release form so that NP Wang could “start his meds,” despite Ms.

        Williams having already completed such a release more than two (2) weeks prior.

               57.     During this medical visit, Ms. Williams requested she be permitted mental health

        treatment and counseling.

               58.     NP Wang received Ms. Williams’ medical records from her regular medical

        provider on or about December 4, 2018.

               59.     NP Wang initialed and dated each page of Ms. Williams’ medical records as she

        reviewed them.




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               60.     Ms. Williams’ medical records provided that the hormone treatment she received

        was required to treat her gender dysphoria, a long-term diagnosis for which she had been

        regularly receiving treatment for years.

               61.     NP Wang initialed those pages indicating Ms. Williams’ diagnosis and her

        treatment.

               62.     Despite NP Wang having abruptly ceased Ms. Williams treatment for gender

        dysphoria upon her arrival at FCADC, NP Wang took no immediate action to obtain Ms.

        Williams the daily medication she required.

               63.     NP Wang did not record having received Ms. Williams’ medical records in an

        official log at FCADC until December 10, 2018 – six days after she received those records.

               64.     On or about December 10, 2018, NP Wang finally ordered Ms. Williams’

        medically-necessary daily medication.

               65.     The nearly month-long period when Ms. Williams did not have the medication

        she required adversely affected her ongoing treatment for gender dysphoria and caused her

        significant mental and emotional distress.

               66.     On or about December 11, 2018, NP Wang initiated Ms. Williams’ hormone

        therapy treatment, which consisted of an injection once every two weeks and a daily oral

        hormone medication.



        Request for Female Undergarments as Accommodation

               67.     As directed by NP Wang, Ms. Williams attempted to purchase a bra from the

        commissary shortly into her incarceration.




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                68.     In accordance with FCADC’s unconstitutional policy, Ms. Williams’ request to

        purchase a bra from the commissary was denied; Ms. Williams was informed the item was not

        available to purchase by those housed on the male side of the facility.

                69.     On or about November 28, 2018, Ms. Williams made a written request to Kincaid,

        by and through FCADC’s ADA Compliance Officer James Santmyers (“Santmyers”) seeking a

        bra as a reasonable accommodation.

                70.     On or about November 30, 2018, Ms. Williams saw NP Wang to determine if a

        medical need existed for the provision of a bra to Ms. Williams.

                71.     On or about December 10, 2018, NP Wang granted Ms. Williams medical

        authorization to receive a bra as an accommodation for her condition.

                72.     The bra provided to Ms. Williams by FCADC did not fit Ms. Williams and Ms.

        Williams was unable to wear it.

                73.     Sheriff’s deputies at FCADC told Ms. Williams the bra she had been provided

        was the largest size available at the facility.

                74.     On information and belief, individuals in female housing at the facility were

        provided bras of an appropriate size as needed.

                75.     FCADC did not provide Ms. Williams with a bra that fit throughout the duration

        of her incarceration where she remained housed with the male general population.

                76.     Without the bra she required, Ms. Williams suffered back pain and

        embarrassment, as well as emotional distress related to gender dysphoria.

                77.     On February 27, 2019, Ms. Williams requested to speak to Santmyers to request

        the provision of women’s underwear.




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               78.     Santmyers referred this request to Medical. NP Wang saw Ms. Williams on

        March 3, 2019 to determine whether to authorize Ms. Williams to wear women’s underwear in

        lieu of the men’s boxer shorts she had been provided.

               79.     On March 4, 2019, Dr. Kassa reviewed NP Wang’s notes and determined that,

        despite Ms. Williams’ history of gender dysphoria, her request for women’s underwear should be

        denied because there was “no indication for ordering women panties.”

               80.     Dr. Kassa and NP Wang denied Ms. Williams’ request for women’s underwear to

        accommodate gender dysphoria, finding without explanation that the accommodation was not

        medically necessary.


        Lack of Private Showers, Intentional Misgendering, and Performance of Cross-Gender
        Searches at FCADC

               81.     Throughout her incarceration at FCADC, Ms. Williams experienced harassment

        by Sheriff’s deputies based on her sex, sex-based stereotypes, and/or her gender identity.

               82.     Sheriff’s deputies at the facility primarily referred to Ms. Williams as “mister,”

        “sir,” “he,” or “gentleman,” despite her repeated requests to be referred to as “ma’am,” “her,” or

        by her legal name.

               83.     Upon information and belief, use of such terms to harass transgender inmates is

        widely practiced at the facility despite being contrary to FCADC policy.

               84.     Fairfax County Sheriff’s Office policy provides that inmates “shall be called by

        their last names without reference to gender specific identifies such as Mr. Mrs. Miss, Ma’am,

        Sir or other gender specific terms used in addressing a person.” SOP 606, Section IV.A.

               85.     Ms. Williams found herself subjected to harassment by male inmates that caused

        her to fear for her safety throughout her duration of her incarceration spent in male housing.



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                  86.   FCADC policy related to transgender and gender non-conforming inmates did not

        permit Ms. Williams the option of showering privately despite her discomfort with showering in

        the presence of others while incarcerated in male housing.

                  87.   Deputies at FCADC repeatedly subjected Ms. Williams to cross-gender searches

        despite her polite requests to be searched by a female deputy.

                  88.   On at least one occasion, a Sheriff’s deputy at FCADC threatened to place Ms.

        Williams in solitary confinement if she did not submit to a search of her person by a male

        deputy.

                  89.   Fairfax County Sheriff’s Office Standard Operating Procedure 606 provides that,

        the following criteria be followed “if there is uncertainty by a deputy as to a classified inmate’s

        gender:”

                        “If the inmate is housed with the female population, the inmate shall
                        be searched by female staff only;” and

                        “If the inmate is housed with the male population, the inmate shall
                        be searched by male staff only.”

        SOP 606, Section IV.D.

                  90.   In January 2019, during a “shakedown” search of Ms. Williams’ housing unit,

        Ms. Williams requested that a female, rather than a male, deputy search her person. A female

        deputy was present during this search, but Ms. Williams’ request was not honored.

                  91.   Garcia, a male deputy, searched Ms. Williams and stated, “Sir, you are a male and

        I need to search you,” before proceeding to pat Ms. Williams down in a highly aggressive

        manner.

                  92.   Garcia knew Ms. Williams to be a transgender woman and knowingly conducted

        an unconstitutional cross-gender search of her person.



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               93.      Garcia’s search of Ms. Williams resulted in physical injury to Ms. Williams,

        including bruising to Ms. Williams’ right breast. This injury caused Ms. Williams pain for

        several days.

               94.      After completing his search of Ms. Williams’ person, Garcia stepped to the side

        of the room and gestured toward Ms. Williams while interacting with other deputies. Garcia

        mocked Ms. Williams and made light of his actions in searching her person.



        Barriers to Ms. Williams’ Entry to the Inmate Workforce Program

               95.      Ms. Williams received medical clearance to enter FCADC’s Workforce Program

        on or about November 30, 2018.

               96.      In December 2018, Ms. Williams made her first request to FCADC for

        consideration in the Workforce Program.

               97.      After her first request went unanswered, Ms. Williams contacted Santmyers to

        discuss how she should seek entry into the Workforce Program.

               98.      In January 2019, Ms. Williams made at least one additional written request to be

        considered for the Workforce Program.

               99.      Ms. Williams again contacted Santmyers after her second written request went

        unanswered.

               100.     Ms. Williams witnessed inmates who had been incarcerated for a shorter time

        than herself be granted entry into the Workforce Program in as little as two weeks, and believed

        her requests were being ignored based on her being transgender.

               101.     On February 11, 2019, Ms. Williams made an additional written request to be

        considered for the Workface Program and directed it to Lt. Gouldsby pursuant to Santmyers’



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        direction. On this request, Ms. Williams noted that she had requested consideration on multiple

        prior occasions and believed she was being discriminated against and excluded from the Program

        because she was transgender.

               102.     Fairfax County Sheriff’s Office policy provides that transgender or gender non-

        conforming inmates “shall be provided an opportunity to participate in services, programs, and

        all other privileges routinely provided to all inmates housed in the Fairfax County Adult

        Detention Center.” SOP 606, Section II.B.

               103.     On February 29, 2019, FCADC responded for the first time to Ms. Williams’

        requests to be considered for the Workforce Program.

               104.     The response to Ms. Williams’ complaint and request for consideration included a

        denial of FCADC having ever received prior written requests from Ms. Williams to enter the

        Program. FCADC instructed Ms. Williams to make additional written requests for consideration

        and direct them to two different deputies at the facility.

               105.     On March 5, 2019, Ms. Williams submitted two additional requests to be

        considered to the Workforce Program as directed.

               106.     In late March 2019, FCADC finally acknowledged and reviewed Ms. Williams’

        requests and granted her permission to participate in the Workforce Program.



        Lapse in Hormone Therapy Treatment Provided During Incarceration

               107.     Upon her acceptance and entry into the Workforce Program, Ms. Williams’ oral

        medications were to be released by FCADC upon Ms. Williams’ agreement they be self-

        administered.




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                  108.   After Ms. Williams agreed to self-administer her medications, FCADC delayed in

        releasing her medications.

                  109.   As a result, Ms. Williams missed several days of her oral hormone medication

        before it was provided by FCADC.

                  110.   Ms. Williams’ bi-weekly hormone injections continued to be administered by

        FCADC under the supervision of NP Wang.

                  111.   NP Wang failed to provide Ms. Williams the hormone injection she was

        scheduled to receive on April 22, 2019.

                  112.   NP Wang failed to provide Ms. Williams the subsequent hormone injection she

        was scheduled to receive on May 6, 2019.

                  113.   On May 9, 2019, Ms. Williams submitted a written complaint to FCADC noting

        she had not been receiving her required and approved treatment.

                  114.   On May 20, 2019, Ms. Williams was released from FCADC custody.



                                                    COUNT I
                         Civil Rights Violation of 42 U.S.C. § 1983: Eighth Amendment
                                             Deliberate Indifference

                                         Against Defendant Xin Wang, NP

                  115.   The allegations in the foregoing paragraphs are incorporated as if realleged

        herein.

                  116.   Defendant NP Wang knew of Ms. Williams’ history of the serious medical

        condition of gender dysphoria and knew, without necessary treatment, this condition would

        cause Ms. Williams serious symptoms, including mental distress.




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               117.    NP Wang failed to conduct an individualized assessment of the care Ms. Williams

        required for gender dysphoria upon learning of her condition early in her incarceration at

        FCADC.

               118.    NP Wang knowingly and intentionally stopped Ms. Williams’ ongoing hormone

        therapy treatment despite knowing the serious risk to Ms. Williams health that abruptly stopping

        such treatment would pose.

               119.    NP Wang knowingly and intentionally interrupted the hormone therapy treatment

        eventually provided to Ms. Williams during her incarceration despite knowing she required

        consistent treatment to prevent serious adverse health effects.

               120.    NP Wang knew about and ignored an excessive risk to Ms. Williams’ health that

        resulted from failing to provide her medically necessary treatment in a timely and uninterrupted

        manner.

               121.    At all times relevant to this Complaint, NP Wang remained deliberately

        indifferent to Ms. Williams’ medical need to be adequately treated for gender dysphoria,

        including continuation of her ongoing hormone therapy treatment as well as regular and

        consistent provision of hormone therapy throughout her incarceration as required to alleviate Ms.

        Williams’ serious medical symptoms.

               122.    NP Wang’s denial of necessary medical treatment for gender dysphoria caused

        irreparable harm and unnecessary suffering to Ms. Williams, including severe anxiety and

        distress resulting in emotional and psychological harm.

               123.    NP Wang’s failure to provide necessary medical treatment to Ms. Williams

        violated the Eighth Amendment to the United States Constitution. As a direct result of

        Defendant’s actions, Ms. Williams suffered damages including, without limitation, pain and



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        suffering; emotional, psychological, and physical distress; violation of dignity; and other

        pecuniary losses not yet ascertained.

                  124.   NP Wang, by engaging in the aforementioned acts and/or omissions and/or in

        ratifying such acts or omissions, engaged in willful, malicious, intentional, and/or oppressive

        conduct, and/or acted with willful and conscious disregard of the rights, welfare, and safety of

        Ms. Williams, thereby justifying the award of punitive damages in an amount to be determined at

        trial.


                                                  COUNT II
                    Equal Protection Violation of 42 U.S.C. § 1983: Fourteenth Amendment
                                         Discrimination Based on Sex

                                    Against Sheriff Kincaid and Deputy Garcia

                  125.   The allegations in the foregoing paragraphs are incorporated as if realleged

        herein.

                  126.   Under the Equal Protection Clause of the Fourteenth Amendment, discrimination

        based on sex is presumptively unconstitutional and subject to heightened scrutiny.

                  127.   Sheriff’s deputies employed at FCADC discriminated against Ms. Williams based

        on her sex by failing to process, search, and house Ms. Williams based on her gender identity,

        but rather searching and housing Ms. Williams in accordance with her biological sex.

                  128.   Kincaid instituted the policy by which her subordinates made the determination to

        process, search and house, Ms. Williams based on her biological sex rather than her gender

        identity.

                  129.   Kincaid bore responsibility for managing the application of the policy at FCADC

        by herself and the deputies under her command.




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USCA4Case
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               130.    FCADC’s blanket policy of classifying inmates based on their birth-assigned sex

        for purposes of housing is contrary to federal regulations propounded pursuant to the Prison

        Rape Elimination Act (“PREA”).

               131.    Federal regulations pertaining to the PREA provide that in “deciding whether to

        assign a transgender or intersex inmate to a facility for male or female inmates, and in making

        other housing and programming assignments, the agency shall consider on a case-by-case basis

        whether placement would ensure the inmate’s health and safety, and whether the placement

        would present management or security problems.” 28 C.F.R. § 115.42(c).

               132.    Kincaid discriminated against Ms. Williams on the basis of sex by placing her in

        male housing at FCADC based solely on her genitalia and without concern for her health and

        safety among the general population in male housing.

               133.    FCADC’s policy of treating transgender individuals as the sex of their housing

        assignment for the purpose of triggering cross-gender search protections is contrary to federal

        PREA regulations.

               134.    PREA regulations provide that cross-gender pat-down search should not occur

        unless there is an emergency. 28 C.F.R. § 115.15(a).

               135.    Fairfax County Sheriff’s Office, through Kincaid, does not describe any policy or

        procedure for searches of transgender and/or gender non-conforming inmates in the event they

        do not feel safe being searched by an individual of a particular gender.

               136.    PREA regulations require effective training of deputies to conduct professional

        and respectful searches of transgender persons. 28 C.F.R. § 115.15(f).




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USCA4Case
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               137.      Kincaid discriminated against Ms. Williams on the basis of sex by subjecting her

        to cross-gender searches despite her stated discomfort with pat-down searches conducted by

        male deputies.

               138.      Garcia discriminated against Ms. Williams on the basis of sex by subjecting her to

        a cross-gender search of her person despite his knowledge that Ms. Williams is a woman. Ms.

        Williams expressed to Garcia, a male deputy, her discomfort with being subjected to a pat-down

        search performed by a male deputy.

               139.      Fairfax County Sheriff’s Office, through Kincaid, does not describe any policy or

        procedure that permits transgender individuals to shower privately.

               140.      PREA regulations require transgender persons be permitted to shower privately.

        28 C.F.R. § 115.42(f).

               141.      Kincaid discriminated against Ms. Williams based on sex by requiring she shower

        in the male shower facility based solely on her housing assignment and without consideration for

        her health and safety.

               142.      Kincaid knew or should have known that FCADC’s current policy created a

        pervasive and unreasonable risk of constitutional injury to individuals who identified themselves

        as a gender other than their birth-assigned sex, such as Ms. Williams.

               143.      If not for the policy enacted by Kincaid and followed by her subordinates at

        FCADC, the constitutional injury suffered by Ms. Williams would not have occurred.

               144.      The Fairfax County Sheriff’s Office does not require inmates who are not

        transgender or gender non-conforming to be subject to cross-gender searches during their

        incarceration.




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USCA4Case
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                145.       Sheriff’s deputies subjected Ms. Williams to discrimination based on her gender

        identity by purposefully misgendering her and delaying her participation in a beneficial

        workforce program at the facility.

                146.       These actions by the deputies violated FCADC policy requiring inmates be

        referred to only by their last name, as well as policy requiring that transgender inmates be

        provided the same opportunity to participate in services and programs afforded to other inmates

        at the facility.

                147.       Kincaid either knew or should have known that such treatment of transgender

        and/or gender non-conforming inmates, contrary to FCADC’s policy, had become pervasive at

        the facility based on the frequency and obviousness of the violations.

                148.       Inmates at the facility who were not transgender were permitted to enter the

        Workforce Program as early as two weeks into their incarceration.

                149.       Sheriff’s deputies at FCADC ignored Ms. Williams’ initial requests to enter the

        program, resulting in her denial of the benefit for several months.

                150.       Sheriff’s deputies at FCADC engaged in this behavior because Ms. Williams is

        transgender, because she is attempting to transition genders, and/or because of the

        discriminatory, sex-based belief that people who are assigned the male sex at birth should

        display only stereotypically male characteristics, behaviors, or dress.

                151.       Defendants discriminated against Ms. Williams because of sex, sex stereotyping

        and/or gender identity and deprived Ms. Williams of her right to equal protection of the laws

        guaranteed by the Fourteenth Amendment of the United States Constitution.




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                  152.   Defendants’ actions were not substantially related to any important government

        interest, nor were they even rationally related to any legitimate government or penological

        interest.

                  153.   As a direct result of Defendants’ actions, Ms. Williams has suffered damages

        including, without limitation, pain and suffering; emotional, psychological, and physical distress;

        violation of dignity; and other pecuniary losses not yet ascertained.

                  154.   Defendants, by engaging in the aforementioned acts and/or omissions and/or in

        ratifying such acts or omissions, engaged in willful, malicious, intentional, and/or oppressive

        conduct, and/or acted with willful and conscious disregard of the rights, welfare, and safety of

        Ms. Williams, thereby justifying the award of punitive damages in an amount to be determined at

        trial.

                                                   COUNT III
                                            Failure to Accommodate
                    Americans with Disabilities Act Amendments Act, 42 U.S.C. § 12101 et seq.
                             Section 504 of the Rehabilitation Act, 29 U.S.C. §794a

                              Against Kincaid, Xin Wang, NP, and Lishan Kassa, MD

                  155.   The allegations in the foregoing paragraphs are incorporated as if realleged

        herein.

                  156.   Ms. Williams suffers from a disability within the meaning and scope of 42 U.S.C.

        § 12102. Accordingly, Ms. Williams is a member of the class of persons protected by the

        ADAAA and Section 504 of the Rehabilitation Act, which makes it unlawful for a public entity

        and entities receiving federal funds to discriminate against an individual with a disability, or to

        deny the benefits of the services, programs, or activities of a public entity or entity receiving

        federal funds to a person with a disability.




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               157.    Ms. Williams is a qualified individual with a disability under Title II of the ADA,

        as the definition provided in the ADAAA encompasses individuals who rely on mitigating

        measures to ameliorate the effects of an impairment.

               158.    Ms. Williams’ disability substantially limits major life activities in the absence of

        hormone therapy and accommodations which permit her to live and present as a woman.

               159.    With treatment, Ms. Williams can perform all major life activities.

               160.    Defendants knowingly and intentionally failed to provide Ms. Williams with the

        necessary medication, aids, or services she requested, subjected her to discrimination, and/or

        maintained policies and procedures that had a disparate impact on Ms. Williams because of her

        disability and resulting in Ms. Williams being denied the same benefits and services available to

        inmates who do not have gender dysphoria.

               161.    The accommodations requested by Ms. Williams included access to female

        undergarments, permission to be searched by female, rather than male, deputies, and access to a

        private shower.

               162.    These accommodations were required as a result of FCADC’s unconstitutional

        policy that required she be housed among the male population.

               163.    In the event, arguendo, FCADC’s policy of housing individuals based on their

        genitalia is found to be constitutional, Defendants bear responsibility for failing to provide the

        accommodations Ms. Williams required on account of her condition that arose as a result of her

        placement in male housing.

               164.    Defendants denied Ms. Williams these accommodations, necessary to ensure her

        health, safety, and welfare while incarcerated at FCADC.




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USCA4Case
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                  165.   Defendants’ acts and omissions violated the ADA and Section 504, which

        prohibit discrimination on the basis of physical and mental disability and protect persons such as

        Ms. Williams from the type of injuries and damages set forth herein.

                  166.   As a direct and legal result of Defendants’ actions and omissions, Ms. Williams

        has suffered and continues to suffer damages including, without limitation, pain and suffering;

        emotional, psychological, and physical distress; and other pecuniary losses not yet ascertained.


                                                COUNT IV
                                         Common Law Gross Negligence

                                              Against All Defendants

                  167.   The allegations in the foregoing paragraphs are incorporated as if realleged

        herein.

                  168.   Defendants failed to comply with professional standards in the treatment, care,

        and supervision of Ms. Williams during her incarceration at FCADC. Defendants’ failures

        include but are not limited to: failing to provide timely and necessary medical treatment;

        punishing Ms. Williams for behaviors and actions reflecting her medical diagnosis; denying her

        access to programs and activities; and failing to house Ms. Williams safely.

                  169.   Kincaid failed to appropriately supervise, review, and ensure the provision of

        adequate care and treatment to Ms. Williams by custody and medical staff, and failed to enact

        appropriate standards and procedures that would have prevented the harm she has experienced.

                  170.   Defendants acted negligently and improperly, breached their respective duties to

        Ms. Williams, and as a direct and proximate result, Ms. Williams suffered injuries and damages

        as alleged herein.




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               171.    The negligent conduct of Defendants was committed within the course and scope

        of their employment.

               172.    The aforementioned acts of individual Defendants were conducted with conscious

        disregard for the safety of Ms. Williams and others, and were therefore malicious, wanton, and

        oppressive. As a result, Defendants’ actions justify an award of punitive damages to punish the

        wrongful conduct alleged herein and to deter such conduct in the future.



                                           PRAYER FOR RELIEF

               WHEREFORE, Plaintiff KESHA T. WILLIAMS requests that this Court enter judgment

        in her favor, and against Defendant Xin Wang, NP as to Count I, Defendants Stacey A. Kincaid

        and Deputy Garcia as to Count II, Defendants Stacey A. Kincaid, Xin Wang, NP, and Lishan

        Kassa, MD as to Count III, and all Defendants as to Count IV, and provide:

               (a) For injunctive and declaratory relief, including but not limited to ordering Defendants

                   to provide inmates with gender dysphoria with adequate and necessary medical care;

                   and declaring unconstitutional and violative of federal law Defendants’ practices in

                   denying Ms. Williams and other similarly situated inmates with adequate and

                   necessary medical treatment; and in addition

               (b) For injunctive and declaratory relief, including but not limited to ordering Defendants

                   to conduct individualized housing assessments for transgender inmates, enact policy

                   that permits transgender inmates to request a search be conducted by an individual of

                   a certain sex, enact policy that requires Fairfax County Sheriff’s deputies adhere to

                   transgender inmates stated request to be searched by an individual of their own sex,

                   permit transgender individuals access to private showers as well as access to clothing



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                    and hygiene items consistent with their gender identity; and declaring

                    unconstitutional and violative of federal law Defendants’ practices of housing; and in

                    addition

                 (c) For compensatory, general and special damages, in an amount to be determined at

                    trial; and in addition

                 (d) For punitive damages as to each of Ms. Williams’ respective Counts against

                    individual Defendants in an amount to be determined at trial; and in addition

                 (e) For attorneys’ fees, costs, and expenses incurred by Ms. Williams in this action

                    pursuant to statute; and in addition

                 (f) Award any further relief this Court deems just and appropriate under the

                    circumstances.



                                                 JURY DEMAND

                    PLAINTIFF KESHA T. WILLIAMS DEMANDS A TRIAL BY JURY.

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff Kesha T. Williams demands a trial by jury.


        Dated:          February 12, 2021                       Respectfully,


                                                                               /s/
                                                                Joshua Erlich, VA Bar No. 81298
                                                                Davia Craumer, VA Bar No. 87426
                                                                Katherine L. Herrmann, VA Bar No. 83203
                                                                THE ERLICH LAW OFFICE, PLLC
                                                                2111 Wilson Blvd., Ste. 700
                                                                Arlington, VA 22201
                                                                Tel: (703) 791-9087
                                                                Fax: (703) 722-8114
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                                                                       kherrmann@erlichlawoffice.com

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USCA4Case
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                                       CERTIFICATE OF SERVICE

                I hereby certify that on February 12, 2021, a true copy of the foregoing was filed
        electronically with the Clerk of the Court and served electronically using the CM/ECF upon:

               Alexander Fracuzenko (VSB No. 36510)
               Cook Craig & Francuzenko, PLLC
               3050 Chain Bridge Road, Suite 200
               Fairfax, VA 22030
               Phone: (703) 865-7480
               Fax: (703) 434-3510
               alex@cookcraig.com

               Counsel for Defendant Stacey A. Kincaid



                                                           /s/
                                                    Joshua Erlich, VA Bar No. 81298
                                                    Davia Craumer, VA Bar No. 87426
                                                    Katherine Herrmann, VA Bar No. 83203
                                                    The Erlich Law Office, PLLC
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                                                    Tel: (703) 791-9087
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                                                    Email: jerlich@erlichlawoffice.com
                                                           dcraumer@erlichlawoffice.com
                                                           kherrmann@erlichlawoffice.com


                                                    Counsel for Plaintiff Kesha T. Williams




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                                  UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

        KESHA T. WILLIAMS,                            )
                                                      )
               Plaintiff,                             )
                                                      )
                       v.                             )
                                                      )       CASE NO. 1:20-cv-01397 (CMH/TCB)
        STACEY A. KINCAID, et. al,                    )
                                                      )
               Defendants.                            )
                                                      )

                                  MOTION TO EXTEND TIME TO SERVE

               Plaintiff Kesha T. Williams, through counsel, hereby submits this Motion to Extend Time

        to Serve Defendants.

               Plaintiff filed this case on November 16, 2020. Because of the nature of the case, Plaintiff

        could not identify three of the defendants at the time the case was filed. Plaintiff filed a motion

        for early discovery on November 17, 2020, which this Court granted on the same date.

               Plaintiff worked diligently through investigation, communication with opposing counsel,

        and the use of subpoenas to identify the Doe Defendants in this matter. As a result, Plaintiff has

        now identified the Defendants she intends to serve.

               Plaintiff’s 90-day deadline to serve Defendants expires on February 16, 2021. Good

        cause exists to grant an extension of time because Plaintiff required most of the notice period to

        identify the Defendants, which she did as quickly as possible. Plaintiff therefore respectfully

        requests an extension of thirty (30) days, until March 18, 2021, to serve Defendants.

               A proposed order is filed herewith.




                                                                                                    JA-036
USCA4 Appeal: 21-2030   Doc: 14
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                                            25 Filed 02/12/21    65 2 of 3 PageID# 131




        Dated:      February 12, 2021             Respectfully,




                                                         /s/
                                                  Katherine L. Herrmann, VA Bar No. 83203
                                                  THE ERLICH LAW OFFICE, PLLC
                                                  2111 Wilson Blvd., Ste. 700
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                                                  Email: kherrmann@erlichlawoffice.com

                                                  Counsel for Plaintiff




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                                                                                  JA-037
USCA4 Appeal: 21-2030   Doc: 14
      Case 1:20-cv-01397-CMH-TCB  Filed: 12/01/2021
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                                        CERTIFICATE OF SERVICE

               I hereby certify that on February 12, 2021, the foregoing was filed electronically with the
        Clerk of the Court, where it will be shared with the following:

               Alexander Francuzenko (VSB No. 36510)
               Cook Craig & Francuzenko, PLLC
               3050 Chain Bridge Road, Suite 200
               Fairfax, VA 22030
               Phone: (703) 865-7480
               Fax: (703) 434-3510
               alex@cookcraig.com



                                                                    /s/
                                                             Katherine L. Herrmann, VA Bar No. 83203
                                                             THE ERLICH LAW OFFICE, PLLC
                                                             2111 Wilson Blvd., Ste. 700
                                                             Arlington, VA 22201
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                                                             Fax: (703) 722-8114
                                                             Email: kherrmann@erlichlawoffice.com

                                                             Counsel for Plaintiff




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                                                                                                 JA-038
USCA4 Appeal: 21-2030   Doc: 14
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                                  UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

        KESHA T. WILLIAMS,                           )
                                                     )
                 Plaintiff,                          )
                                                     )
                         v.                          )
                                                     )      CASE NO. 1:20-cv-01397 (CMH/TCB)
        STACEY A. KINCAID, et. al,                   )
                                                     )
                 Defendants.                         )
                                                     )
                                                ORDER

                 This matter comes before the Court on Plaintiff Kesha T. Williams’ Motion to Extend

        Time to Serve (Dkt. 25). Pursuant to Rule 4 of the Federal Rules of Civil Procedure, it is

        hereby

                 ORDERED that Plaintiff’s Motion (Dkt. 25) is GRANTED; and it is further

                 ORDERED that Plaintiff has an additional 30 days in which to serve Defendants, until

        March 18, 2021.

                 ENTERED this 16th day of February, 2021.

                                                                                     /s/
                                                           ____________________________________
                                                           THERESA CARROLL BUCHANAN
                                                           UNITED STATES MAGISTRATE JUDGE
             Alexandria, Virginia




                                                                                                 JA-039
USCA4 Appeal: 21-2030   Doc: 14
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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

        KESHA T. WILLIAMS,                         :
                                                   :
                      Plaintiff,                   :
                                                   :
               v.                                  :       Case No. 1:20-cv-01397-CMH-TCB
                                                   :
        STACEY A. KINCAID, et al.                  :
                                                   :
                      Defendants.                  :

                                   DEFENDANT’S MOTION TO DISMISS

               COMES NOW the Defendant, Stacey A. Kincaid (“Defendant” or “Sheriff Kincaid”) by

        and through her undersigned counsel, Alexander Francuzenko, Esq. and the law firm of Cook

        Craig & Francuzenko, PLLC, and hereby moves this Court to Dismiss the Amended Complaint

        (ECF No. 21) filed against her by the Plaintiff, Kesha T. Williams. In support thereof, Sheriff

        Kincaid specifically refers the Court to her Memorandum in Support filed herewith.


                                                   Respectfully submitted,


                                                   _________/s/_______________________
                                                   Alexander Francuzenko, VSB #36510
                                                   Philip C. Krone, Esq. VSB #87723
                                                   Cook Craig & Francuzenko, PLLC
                                                   3050 Chain Bridge Road, Suite 200
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                                                   pkrone@cookcraig.com
                                                   Counsel for Defendant Stacey A. Kincaid




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                                                                                              JA-040
USCA4 Appeal: 21-2030   Doc: 14
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                                        CERTIFICATE OF SERVICE

               I hereby certify that on this 26th day of February 2020, I electronically filed the foregoing

        Motion to Dismiss with the Clerk of Court using the CM/ECF system and served a copy upon the

        following via email to:

               Josh Erlich, Esq.
               The Erlich Law Office, PLLC
               2111 Wilson Blvd., Suite 700
               Arlington, VA 22201
               Phone: (703) 791-9087
               jerlich@erlichlawoffice.com
               Counsel for Plaintiff


                                                     __________/s/____________________
                                                     Alexander Francuzenko, VSB #36510
                                                     Philip C. Krone, Esq. VSB #87723
                                                     Cook Craig & Francuzenko, PLLC
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                                                     pkrone@cookcraig.com
                                                     Counsel for Defendant Stacey A. Kincaid




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                                                                                                  JA-041
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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division

        KESHA T. WILLIAMS,                            :
                                                      :
                       Plaintiff,                     :
                                                      :
               v.                                     :       Case No. 1:20-cv-01397-CMH-TCB
                                                      :
        STACEY A. KINCAID, et al.                     :
                                                      :
                       Defendants.                    :

                                    DEFENDANT’S MOTION TO DISMISS

                COMES NOW the Defendant, Deputy Garcia, by and through her undersigned counsel,

        Alexander Francuzenko, Esq. and the law firm of Cook Craig & Francuzenko, PLLC, and hereby

        moves this Court to Dismiss the Amended Complaint (ECF No. 21) filed against him by the

        Plaintiff, Kesha T. Williams. In support thereof, Deputy Garcia specifically refers the Court to her

        Memorandum in Support filed herewith.


                                                      Respectfully submitted,


                                                      _________/s/_______________________
                                                      Alexander Francuzenko, VSB #36510
                                                      Philip C. Krone, Esq. VSB #87723
                                                      Cook Craig & Francuzenko, PLLC
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                                                      pkrone@cookcraig.com
                                                      Counsel for Defendant Garcia




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                                                                                                  JA-042
USCA4 Appeal: 21-2030   Doc: 14
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                                       CERTIFICATE OF SERVICE

               I hereby certify that on this 2nd day of April 2021, I electronically filed the foregoing

        Motion to Dismiss with the Clerk of Court using the CM/ECF system and served a copy upon the

        following via email to:

               Josh Erlich, Esq.
               The Erlich Law Office, PLLC
               2111 Wilson Blvd., Suite 700
               Arlington, VA 22201
               Phone: (703) 791-9087
               jerlich@erlichlawoffice.com
               Counsel for Plaintiff


                                                    __________/s/____________________
                                                    Alexander Francuzenko, VSB #36510
                                                    Philip C. Krone, Esq. VSB #87723
                                                    Cook Craig & Francuzenko, PLLC
                                                    3050 Chain Bridge Road, Suite 200
                                                    Fairfax, VA 22030
                                                    Phone (703) 865-7480
                                                    Fax (703) 434-3510
                                                    alex@cookcraig.com
                                                    pkrone@cookcraig.com
                                                    Counsel for Defendant Garcia




                                                       2

                                                                                               JA-043
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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

        KESHA T. WILLIAMS,                          :
                                                    :
                      Plaintiff,                    :
                                                    :
               v.                                   :       Case No. 1:20-cv-01397-CMH-TCB
                                                    :
        STACEY A. KINCAID, et al.                   :
                                                    :
                      Defendants.                   :

                                   DEFENDANT’S MOTION TO DISMISS

               COMES NOW the Defendant, Xin Wang, NP (“Nurse Wang”) by and through her

        undersigned counsel, Alexander Francuzenko, Esq. and the law firm of Cook Craig &

        Francuzenko, PLLC, and hereby moves this Court to Dismiss the Amended Complaint (ECF No.

        21) filed against her by the Plaintiff, Kesha T. Williams. In support thereof, Nurse Wang

        specifically refers the Court to her Memorandum in Support filed herewith.


                                                    Respectfully submitted,


                                                    _________/s/_______________________
                                                    Alexander Francuzenko, VSB #36510
                                                    Philip C. Krone, Esq. VSB #87723
                                                    Cook Craig & Francuzenko, PLLC
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                                                    pkrone@cookcraig.com
                                                    Counsel for Defendant Xin Wang




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                                                                                          JA-044
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                                       CERTIFICATE OF SERVICE

               I hereby certify that on this 2nd day of April, 2021, I electronically filed the foregoing

        Motion to Dismiss with the Clerk of Court using the CM/ECF system and served a copy upon the

        following via email to:

               Josh Erlich, Esq.
               The Erlich Law Office, PLLC
               2111 Wilson Blvd., Suite 700
               Arlington, VA 22201
               Phone: (703) 791-9087
               jerlich@erlichlawoffice.com
               Counsel for Plaintiff


                                                    __________/s/____________________
                                                    Alexander Francuzenko, VSB #36510
                                                    Philip C. Krone, Esq. VSB #87723
                                                    Cook Craig & Francuzenko, PLLC
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                                                    pkrone@cookcraig.com
                                                    Counsel for Defendant Xin Wang




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                                                                                                JA-045
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                   Alexandria Division


        KESHA T. WILLIAMS,

                    Plaintiff,

        v.                                        civil Action No. 1:20-cv-1397

        STACY A. KINCAID, et al.,

                   Defendants.


                                   MEMORANDUM OPINION

              THIS MATTER comes before the Court on Defendant Stacy A.

        Kincaid's Motion to Dismiss for Failure to State a Claim.

              Plaintiff is a transgender woman who has lived as a female

        and   received   hormone    therapy    for   fifteen   years.    Plaintiff,

        however,   maintains the male genitalia with which she was born.

        From 2018 to 2019, Plaintiff was incarcerated by the Fairfax County

        Sheriff's Office.     Defendant Kincaid is       the   Sheriff of   Fairfax

        County and responsible for the operation of the Fairfax County

        Adult Detention Center      ("Detention Center").      During Plaintiff's

        intake at the Detention Center, she was classified as a male based

        on the Sheriff's Office policy that          inmates are classified in

        accordance with his or her genitalia. Based on this classification,

        Plaintiff was placed in male housing and was subject to search by

        male staff. She also received male undergarments based on Sheriff's




                                                                             JA-046
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       Office    policy     that    transgender         inmates    receive         undergarments

        consistent with their housing classification.

             In November 2020,            Plaintiff brought suit against Defendant

        Kincaid (in her official capacity) and others acting on behalf of-

        or in coordination with-the Sheriff's Office.                        Plaintiff amended

       her complaint on February 12, 2021. The Amended Complaint claims

       Defendant    Kincaid        discriminated         against        Plaintiff         based    on

        Plaintiff's sex,        in violation of the Fourteenth Amendment Equal

        Protection Clause.         Plaintiff claims Defendant Kincaid is liable

       under the doctrine of respondeat superior for discrimination by

        the deputies at the Detention Center who failed to process, search,

        and house Plaintiff based on her gender identity. Additionally,

        Plaintiff   asserts        that    Defendant      Kincaid       is    responsible         for

       discrimination       because       she   instituted        the    classification           and

        search policies that resulted in Plaintiff's alleged injury.

             The Amended Complaint also includes a cause of action against

       Defendant    Kincaid      for      failure   to    accommodate         a    disability      in

       violation    of    the     Americans      with     Disabilities            Amendments      Act

        ("ADAA") and Rehabilitation Act ("RAil). See 42 U.S.C.                        §    12101 et

        seq.; 29 U.S.C.     §   794(a). Plaintiff asserts that she suffers from

        gender dysphoria and is therefore a qualified individual with a

       disability protected under the ADAA and RA.

             Finally, the Amended Complaint asserts that Defendant Kincaid

        committed   gross       negligence      when     she   failed        to    "appropriately


                                                    2
                                                                                             JA-047
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        supervise, review, and ensure the provision of adequate care and

        treatment"      to Plaintiff.       It also asserts gross negligence when

        Defendant       Kincaid    "failed      to   enact   appropriate      standards    and

        procedures that would have prevented" Plaintiff's harm.

              On February 26,           2021,   Defendant Kincaid filed a Motion to

        Dismiss for Failure to State a Claim, pursuant to Federal Rule of

        Civil Procedure 12(b) (6). Defendant seeks dismissal of Plaintiff's

        ADAA and RA claims as time barred and argues that gender dysphoria

        is not a qualified disability. The Motion also argues for dismissal

        of Plaintiff's gross negligence claim because Defendant Kincaid

        exercised some degree of care and because there is no showing that

        Defendant Kincaid was the proximate cause of Plaintiff's alleged

        injuries.      Plaintiff voluntarily dismisses her 42 U. s. C.               §    1983

        claim in the Memorandum in Opposition of March 12, 2021. Defendant

        Kincaid's       March     18,    2021   Reply     withdrew    the    argument     that

        Plaintiff's ADAA and RA claims are time barred.

              A complaint should be dismissed for failure to state a claim

        pursuant to Federal Rule of Civil Procedure 12 (b) (6)                    "if after

        accepting       all     well-pleaded         allegations     in    the   plaintiff's

        complaint as       true             it appears       certain that the plaintiff

        cannot prove any set of facts in support of his claim entitling

        him to relief." Edwards v. City of Goldsboro,                     178 F.3d 231,    244

        (4th Cir. 1999). A plaintiff must allege "a plausible claim for

        relief,   II   instead of merely stating facts             that     leave open "the


                                                      3
                                                                                        JA-048
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        possibility that a plaintiff might later establish some set of

        undisclosed    facts      to    support   recovery."      McCleary- Evans      v.   Md.

        Dep't of Transp.,         State Highway Admin.,         780 F.3d 582,        587    (4th

        Cir. 2015)    (emphases in original). Although a court considering a

        motion to dismiss must accept all well-pleaded factual allegations

        as   true,   this deference does not extend to legal conclusions.

        Neither "naked assertions devoid of further factual enhancement,"

        nor "[t]hreadbare recitals of the elements of a cause of action,

        supported by mere         conclusory statements"           suffice.      Ashcroft    v.

        Iqbal, 556 U.S. 662, 678 (2009).

              Plaintiff has not stated a claim upon which relief can be had

        against Defendant Kincaid. First, Plaintiff has not shown she is

        a qualified individual with a disability within the scope of the

        ADAA and RA. Upon passing Americans with Disabilities Act, Congress

        excluded from the term "disability" all "gender identity disorders

        not resulting from physical impairments." 42 U.S.C.                  §   12211(b) (1).

        The Amended Complaint describes gender dysphoria as "discomfort or

        distress that is caused by a discrepancy between a person's gender

        identity     and   that    person's       sex   assigned      at    birth   (and    the

        associated     gender      role     and/or      primary       and    secondary      sex

        characteristics) ."       The    issue    in    this   case    is    whether   gender

        dysphoria is the result of a physical impairment and thus excluded

        from the scope of the ADAA and RA.




                                                   4
                                                                                       JA-049
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               Plaintiff argues that her disorder is alleviated by medical

        treatment and that,        without hormone therapy,             the disorder would

        substantially limit her major life activities.                    But the Amended

        Complaint fails to demonstrate that gender dysphoria is the result

        of a physical impairment. The Amended Complaint's definition of

        gender       dysphoria   only       references    physical      features       when     it

        mentions genitalia not corresponding to a person's perception of

        her    own     gender.   The    Amended     Complaint    does    not    assert        that

        Plaintiff's genitalia is an impairment.

               Plaintiff     cites      the      congressional   record     and       committee

        hearing      transcripts       in   an   unsuccessful    attempt       to    bring    her

        disorder within the scope of the ADAA. The Court is unwilling to

        delve into legislative history when the text of the statute is

        unambiguous,      as it is here. Plaintiff must allege some physical

        impairment that resulted in her gender dysphoria.                       She has not.

        Thus, her ADAA and RA claims must be dismissed pursuant to Federal

        Rule of Civil Procedure 12(b) (6).

               Next,     Plaintiff's allegations of          gross   negligence against

        Defendant Kincaid fail to state a claim upon which relief may be

        had.   Plaintiff's first theory,             that Defendant Kincaid committed

        gross negligence when she failed to enact appropriate standards

        and procedures       to prevent Plaintiff's harm,               fails       because   the

        allegations       in Plaintiff's Amended Complaint preclude                    recovery

        under Virginia law.


                                                    5
                                                                                         JA-050
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              Gross       negligence        is     "a       degree       of    negligence      showing

        indifference to another and an utter disregard of prudence that

        amounts to a complete neglect of the safety of such other person."

        Elliott v.        Carter,    292 Va.       618,     622     (2016)     (internal citations

        omitted).     Generally,          the    existence         of    gross    negligence      is    a

        question     of    fact     for    the     jury.      But       "the   standard    for    gross

        negligence [in Virginia]                is one of indifference, not inadequacy"

        and thus,     "a claim for gross negligence must fail as a matter of

        law when the evidence shows that the defendants exercised some

        degree of care." Id.          (internal citations omitted) .

              The Amended Complaint shows Defendant Kincaid exercised some

        degree of care. Defendant Kincaid enacted standards relating to

        gender classification directed at promoting safety of inmates and

        prison staff.        This shows the existence of some degree of care

        toward inmates, including Plaintiff. The Amended Complaint states

        that Defendant Kincaid committed gross negligence when she "failed

        to   enact    appropriate standards"                 to     prevent      Plaintiff's      harm.

        (Emphasis     added).       Though        Plaintiff         describes      the    policy       as

        inappropriate        and    inadequate,         the       allegations      in    the   Amended

        Complaint show Defendant Kincaid exercised more than indifference.

        Under Virginia law, this degree of care is all that is necessary

        to preclude Plaintiff's gross negligence cause of action.

              Plaintiff's theory of gross negligence based on the doctrine

        of respondeat superior fails for the same reasons. Though Defendant


                                                        6
                                                                                                 JA-051
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        Kincaid is responsible for the acts of her officers authorized by

        her implemented policies, the challenged policies inherently show

        some degree of care for inmates such as Plaintiff.                    Plaintiff's

        claim against     Defendant   Kincaid      for    gross   negligence     must   be

        dismissed pursuant to Federal Rule of Civil Procedure 12(b) (6).

              For the foregoing reasons,          Plaintiff has failed to state a

        claim against     Defendant   Kincaid,      and    the    Complaint    should be

        dismissed. An accompanying order shall issue.




                                                    CLAUDE M. HILTON
                                                    UNITED STATES DISTRICT JUDGE

        Alexandria, Virginia
        June ~, 2021




                                              7
                                                                                   JA-052
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                         IN THE
                         IN THE UNITED
                         FOR THE
                                UNITED STATES
                                       STATES DISTRICT
                             THE EASTERN
                                              DISTRICT COURT
                                 EASTERN DISTRICT
                                         DISTRICT OF
                                                       COURT      ~
                                                                  H.
                                                          VIRGINIA~
                                                  OF VIRGINIA
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                         FOR
                                                                                     8 ?n?t
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                                   Alexandria Division
                                   Alexandria Division                            U.S. DiSTRin r ~',J~:r
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        KESHA T.
        KESHA T. WILLIAMS,
                 WILLIAMS,


                   Plaintiff,
                   Plaintiff,

        v.
        V.                                        Civil Action
                                                  Civil Action No.
                                                               No. l;20-cv-1397
                                                                   1:20-cv-1397

        STACY A.
        STACY A. KINCAID,
                 KINCAID, et
                          et al.,
                             al.,

                   Defendants.
                   Defendants.




                                   MEMORANDUM OPINION
                                   MEMORANDUM OPINION

             THIS MATTER
             THIS MATTER comes
                         comes before
                               before the
                                      the Court
                                          Court on
                                                on the
                                                   the Motions
                                                       Motions to
                                                               to Dismiss
                                                                  Dismiss

           Defendants Deputy Garcia and Xin Wang.
        by Defendants                       Wang.

                       is a
             Plaintiff is a transgender woman who has
                                                  has lived
                                                      lived as
                                                            as a
                                                               a female
                                                                 female

                                     for fifteen
        and received hormone therapy for fifteen years.      2018 to 2019,
                                                 years. From 2018    2019,

        Plaintiff was
                  was incarcerated at
                                   at the Fairfax County Adult Detention

               ("Detention Center").
        Center (''Detention Center"). Because Plaintiff maintains
                                                        maintains the male

        genitalia with which she was born.
                                     born, Plaintiff was classified as
                                                                    as a
                                                                       a

        male during her intake.
                        intake. This
                                This classification was in
                                                        in accordance with

                                    that inmates
        the Sheriff's Office policy that inmates are classified based on

        his or her genitalia.
        his        genitalia. Defendant Wang is
                                             is a
                                                a nurse practitioner who

        conducted Plaintiff's
        conducted Plaintiff's medical evaluation at
                              medical evaluation at the
                                                    the time
                                                        time of
                                                             of her
                                                                her intake
                                                                    intake

        at the Detention Center.
        at               Center. Plaintiff informed
                                           informed Defendant Wang of her

                        treatment, which at
        ongoing hormone treatment,       at the time consisted of a
                                                                  a daily

                           injections.
        pill and bi-weekly injections.




                                                                                      JA-053
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                              is a
             Defendant Garcia is a deputy of the Fairfax County Sheriff's

        Office. In
        Office. In January 2019,
                           2019, he conducted a
                                              a search of Plaintiff's

                      a shakedown of Plaintiff's housing unit.
        person during a                                  unit.

             In November 2020,
             In          2020, Plaintiff filed
                                         filed the present action against

                               County, Maxim Healthcare Services,
        the Sheriff of Fairfax County,                  Services, Inc.,
                                                                  Inc.,

             "Custody Does,"
        nine "Custody Does," and six "Health
                                     "Health Care Does."
                                                  Does." Plaintiff amended

                                  12, 2021 to include
        the Complaint on February 12,         include Defendants Wang

        (presumably, one of the Health Care Does)
        (presumably,                        Does) and Garcia (presumably,
                                                             (presumably,

        a Custody Doe).
        a         Doe). Defendants Wang and                  filed the present
                                                      Garcia filed

                              April 2,
        Motions to Dismiss on April 2, 2021.
                                       2021.

               complaint should be dismissed pursuant to Federal Rule of
             A complaint

        Civil Procedure
        Civil Procedure 12(b)
                        12(b) (6)
                              (6) for
                                  for failure
                                      failure to
                                              to state
                                                 state a
                                                       a claim
                                                         claim "if
                                                               "if after
                                                                   after

        accepting    all
                     all   well-pleaded     allegations     in
                                                            in   the   plaintiff's

                                it appears
                  as true . . . it
        complaint as               appears certain that
                                                   that the plaintiff

        cannot prove any set of facts
                                facts in support of his claim entitling

        him to
        him to relief."
               relief." Edwards
                        Edwards v.
                                v. City
                                   City of
                                        of Goldsboro,
                                           Goldsboro, 178
                                                      178 F.3d
                                                          F.3d 231,
                                                               231, 244
                                                                    244

        (4th Cir.
        (4th Cir. 1999).
                  1999). A plaintiff must allege "a
                                                 "a plausible claim for
                                                                    for

        relief," instead
        relief," instead of merely stating facts
                                           facts that
                                                 that leave
                                                      leave open "the
                                                                 "the

                    that a
        possibility that a plaintiff might
                                     might later
                                           later establish some set of

                    facts to support recovery."
        undisclosed facts            recovery."                          v.
                                                          McCleary-Evans v.      Md.
                                                                                 Md.

                 Transp., State Highway Admin.,
        Dep't of Transp.,               Admin., 780
                                                780 F.3d 582,
                                                         582, 587
                                                              587 (4th
                                                                  (4th

        Cir. 2015)
        Cir. 2015) (emphases
                   (emphases in original).
                                original) .

                      a court considering a
             Although a                   a motion to dismiss must
                                                              must accept

        all well-pleaded factual
        all              factual allegations as
                                             as true,
                                                true, this deference does
                                                                     does


                                             2
                                                                             JA-054
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                            conclusions. Neither "naked
        not extend to legal conclusions.         "naked assertions devoid

        of further
           further factual
                   factual enhancement,"
                           enhancement," nor "[t]hreadbare
                                             "[t]hreadbare recitals of the

        elements    of   a
                         a   cause   of   action,
                                          action,   supported   by   mere   conclusory

        statements" suffice.
        statements" suffice. Ashcroft
                             Ashcroft v.
                                      v. Iqbal,
                                         Iqbal, 556 U.S.
                                                    U.S. 662,
                                                         662, 678
                                                              678 (2009).
                                                                  (2009).

                   I of the Amended Complaint claims
             Count I                          claims that
                                                     that Defendant
                                                          Defendant Wang

        acted with deliberate indifference
                              indifference toward Plaintiff as prohibited

                                                     to 42
        by the Eighth Amendment and brought pursuant to 42 U.S.C.
                                                           U.S.C. § 1983.
                                                                  § 1983.


                  alleges that
        Plaintiff alleges that Defendant Wang knowingly and intentionally

                    interrupted Plaintiff's hormone therapy treatments,
        stopped and interrupted                             treatments,

                             for gender dysphoria,
        denied her treatment for        dysphoria, and failed
                                                       failed to conduct

                          assessment of Plaintiff's gender dysphoria early
        an individualized assessment

                   incarceration.
        during her incarceration.

              First, some of Plaintiff's claims must be dismissed as
              First,                                              as time

        barred. Though Plaintiff filed
        barred.                  filed the initial Complaint in
                                                             in November

        2020, Defendants Garcia and Wang were not named as defendants until
        2020,

                                                    12, 2021.
        Plaintiff amended her complaint on February 12, 2021.

              The   Relation     Back     doctrine-which
                                          doctrine—which   applies    to    defendants

                         as "Does"
        originally named as "Does" in
                                   in the initial
                                          initial pleadings but identified

                            complaint-does not
        later in an amended complaint—does not apply here.
                                                     here. For claims

        against a
        against a re-named defendant
                           defendant in
                                     in an amended complaint to relate

        back, the
        back, the   re-named
                    re-named     defendants must receive
                                 defendants      receive        notice of
                                                                notice of   the claim
                                                                            the claim

                                                  in Federal Rule of Civil
        before expiration of the service provided in

        Procedure 4(m).
        Procedure 4(m}. Rule 4
                             4(m}        that a
                              (m) states that a defendant
                                                defendant must be served

        within 90
               90 days
                  days after the complaint is
                                           is filed.
                                              filed. The Court extended


                                                3
                                                                                JA-055
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                        for Plaintiff to serve Defendants in this
        the time period for                                  this matter,
                                                                  matter,

        but this extension does not apply for
                                          for the purpose of the Relation

        Back doctrine.
        Back doctrine. Thus,
                       Thus, Plaintiff
                             Plaintiff had
                                       had until
                                           until February
                                                 February 14,
                                                          14, 2021,
                                                              2021, 90
                                                                    90

                   filing the initial Complaint,
        days after filing             Complaint, to serve Defendants.
                                                          Defendants. She

        failed
        failed    to   do    so;
                             so;     therefore,
                                     therefore,   any   claims      premised    on   actions

        occurring more than two years prior to the filing
                                                   filing of the Amended

        Complaint, February 12,
        Complaint,          12, 2021,
                                2021, are barred by the § 1983 two-year
                                                        § 1983

        statute of
        statute of limitations.
                   limitations.

                Within the relevant
                           relevant time period following
                                                following February 12,
                                                                   12, 2019,
                                                                       2019,

        the   Amended    Complaint       references
                                         references     only   one    instance    involving

        Defendant Wang that
        Defendant      that forms
                            forms the basis of Plaintiff's deliberate

        indifference
        indifference        claim:
                            claim:    the   interruption
                                            interruption       of    Plaintiff's     hormone

                   from April
        injections from April 22
                              22 to May 6,
                                        6, 2019.
                                           2019.

              The     Amended      Complaint
                                   Complaint   claims   that
                                                        that    these     inj ections
                                                                          injections    were

                                             "under the supervision of NP
        administered by the Detention Center "under

        Wang,"
        Wang," suggesting Defendant Wang is
                                         is liable as
                                                   as a
                                                      a supervisor for
                                                                   for the

        lapse    in
                 in    Plaintiff's      hormone   treatment.
                                                  treatment.        To   show
                                                                         show   supervisory

                  in a
        liability in a claim brought under § 1983, a
                                           § 1983, a plaintiff must show

            following:
        the following:

              (1) that
              (1)  that the supervisor had actual
                                             actual or constructive
                        that his subordinate was
              knowledge that                  was engaged in conduct
              that posed a
              that         a pervasive and unreasonable risk of
                                                           plaintiff;
              constitutional injury to citizens like the plaintiff;
              (2) that
              (2)  that the supervisor's response to that knowledge was
                  inadequate as
              so inadequate  as to show "deliberate
                                         "deliberate indifference
                                                     indifference to or
              tacit authorization of the alleged offensive practices;
              tacit                                          practices;
              and
              and




                                                  4
                                                                                      JA-056
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               (3) that
               (3) that there
                        there was an affirmative
                              was an affirmative causal
                                                 causal link
                                                        link between
                                                             between
               the   supervisor's
                     supervisor's    inaction
                                     inaction  and    the   particular
               constitutional injury
               constitutional injury suffered by the plaintiff.
                                                     plaintiff.


        Shaw   v.
               V.    Stroud,
                     Stroud,    13
                                13    F.3d   791,
                                             791,       799
                                                        799   (4th
                                                              (4th     Cir.
                                                                       Cir.   1994)
                                                                              1994)      (internal
                                                                                         (internal

        quotations omitted).
        quotations omitted) .

                           Complaint states that
               The Amended Complaint        that on May 9,
                                                        9, 2019
                                                           2019 Plaintiff

                                          a written complaint about
        submitted to the Detention Center a                   about her

        lapse in
        lapse in hormone injections.
                         injections. This is
                                          is the Amended Complaint's
                                                         Complaint's only

                   that Defendant
        allegation that Defendant Wang had at
                                           at least
                                              least constructive knowledge

                                  failure to provide Plaintiff
        of the Detention Center's failure            Plaintiff with her

        hormone      injections.
                     injections.      The    Amended      Complaint        does
                                                                           does    not
                                                                                   not     mention

        Defendant      Wang's
                       Wang's    response      (if
                                               (if       any)
                                                         any)     to     Plaintiff's       written

        complaint. In
        complaint. In fact,
                      fact, Plaintiff was released from
                                                   from the Detention

                    a few
        Center only a few days
                          days later.
                               later. Even assuming Defendant Wang had

                     knowledge, her response was not
        constructive knowledge,                  not so inadequate
                                                        inadequate so as
                                                                      as

                           indifference or tacit approval of the missed
        to show deliberate indifference

        treatments. Count
        treatments. Count I
                          I against Defendant Wang is dismissed for
                                                                for failure
                                                                    failure

        to state
        to state a
                 a claim.
                   claim.

               The    Amended        Complaint      also        claims     Defendant
                                                                           Defendant       Garcia

        discriminated     against
                          against      Plaintiff        on    the    basis    of   her    sex,
                                                                                          sex,   in
                                                                                                 in

                                              Equal Protection Clause.
        violation of the Fourteenth Amendment Equal            Clause.

                          that Defendant Garcia discriminated against
        Plaintiff asserts that                                against her

           "subjecting her to a
        by ''subjecting       a cross-gender search of her person despite

                      that Ms.
        his knowledge that Ms. Williams is
                                        is a
                                           a woman.
                                             woman."II               not
                                                       Plaintiff has not




                                                    5
                                                                                            JA-057
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               a claim upon which relief can be granted against
        stated a                                        against Defendant

        Garcia.
        Garcia.


               The § 1983 claim against Defendant Garcia is premised on a
                   § 1983                                               a

               that occurred in
        search that          in January 2019.
                                        2019. Count II
                                                    II against Defendant

        Garcia is barred by the two-year statute of limitations and must

                                                 Civil Procedure 12(b)(6).
        be dismissed pursuant to Federal Rule of Civil           12(b) (6).

                     III of the Amended Complaint claims that
               Count III                                 that Defendant Wang

        failed to accommodate Plaintiff's alleged disability pursuant to
        failed

        the Americans
        the Americans with
                      with Disabilities
                           Disabili ties Act
                                         Act Amendments
                                             Amendments Act
                                                        Act ("ADAA")
                                                            ( "ADAA") and
                                                                      and

                               ("RA). In
        the Rehabilitation Act ("RA). In her Memorandum in
                                                        in Opposition
                                                           opposition to

                    Motion, Plaintiff stipulates to dismissal
        the present Motion,                         dismissal of Count

        III.
        III.


                                           for gross negligence against
               Plaintiff's cause of action for

        Defendants Garcia and Wang also fail
                                        fail to state a
                                                      a claim upon which

                      had.
        relief may be had.

               With respect
                    respect to the allegations against
                                               against Defendant Wang, "all
                                                                 Wang, "all

        tort claims based on the provision of health care services against

        health care providers are considered malpractice claims and are

                                                     Act." Gedrich v.
        governed by the Virginia Medical Malpractice Act."         v.

                Cty. Dep't of Fam.
        Fairfax Cty.          Fam. Servs.,
                                   Servs., 282
                                           282 F.
                                               F. Supp.
                                                  Supp. 2d 439,
                                                           439, 477
                                                                477 (E.D.
                                                                    (E.D.

        Va. 2003).
        Va. 2003). The gross negligence claim against
                                              against Defendant Wang, a
                                                                Wang, a

                    provider, is
        health care provider, is thus
                                 thus a
                                      a medical malpractice claim under

        Virginia law.
                 law.




                                             6
                                                                             JA-058
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             As    previously    discussed,
                                 discussed,        the      only   allegation    against

        Defendant Wang that falls
                            falls within the appropriate time period is

                    failure to supervise the Detention Center's provision
        her alleged failure

                               injections from
        of Plaintiff's hormone injections from April
                                               April 22
                                                     22 to May 6,
                                                               6, 2019.
                                                                  2019.

             Virginia law
                      law states "there
                                 "there is
                                        is no basis
                                              basis or reason for
                                                              for holding

        a physician liable for
        a                  for the conduct of
                                           of another physician,
                                                      physician, a
                                                                 a hospital

        nurse, or any other hospital
        nurse,              hospital employee"
                                     employee" for
                                               for medical malpractice

              a theory of vicarious liability."
        under a                     liability." Wolf v.
                                                     v. Fauquier Cty.
                                                                 Cty. Bd.
                                                                      Bd.

        of Sup'rs,
           Sup'rs, No.
                   No. 1:06CV945,
                       1:06CV945, 2007
                                  2007 WL 2688418,
                                          2688418, at *6
                                                      *6 (E.D.
                                                         (E.D. Va.
                                                               Va. Sept.
                                                                   Sept.

        12, 2007)
        12, 2007) {internal
                  (internal quotations
                            quotations omitted).
                                       omitted) . As such,
                                                     such, there is no basis

                Defendant Wang liable in
        to hold Defendant             in a
                                         a supervisory role for
                                                            for the

                           failure to administer Plaintiff's injections.
        Detention Center's failure                           injections.

                  against Defendant Wang for
        The claim against                for gross negligence should be

                  for failure
        dismissed for failure to state a
                                       a claim upon which relief may be

        granted.
        granted.

              Gross   negligence     is
                                     is   "a
                                          "a       degree     of   negligence    showing

                                                                   that
        indifference to another and an utter disregard of prudence that

                   a complete neglect
        amounts to a          neglect of
                                      of the safety of such other person."
                                                                  person."

        Elliott V.
        Elliott v. Carter,
                   Carter, 292
                           292 Va.
                               Va. 618,
                                   618, 622
                                        622 (2016)
                                            (2016) (internal
                                                   (internal citations

        omitted). It
        omitted). It "requires
                     "requires a
                               a degree of negligence that
                                                      that would shock

        fair-minded
        fair-minded    persons."
                       persons."    Id.
                                    Id.   Generally,
                                          Generally,         the   existence    of   gross

                   is a
        negligence is a question of fact
                                    fact for
                                         for the jury.
                                                 jury. But "the
                                                           "the standard

        for gross negligence [in
        for                  [in Virginia]
                                 Virginia] is
                                           is one of indifference,
                                                     indifference, not
                                                                   not

        inadequacy" and thus,
        inadequacy"     thus, "a
                              "a claim for
                                       for gross negligence must fail
                                                                 fail as
                                                                      as


                                               7
                                                                                     JA-059
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        a
        a   matter
            matter    of
                      of    law
                            law   when
                                  when   the
                                         the    evidence
                                                evidence      shows
                                                              shows    that
                                                                       that   the
                                                                              the   defendants
                                                                                    defendants


        exercised some
        exercised some degree
                       degree of
                              of care."
                                 care." Id.
                                        Id. (internal
                                             (internal citations
                                                       citations omitted).
                                                                 omitted) .

               The Amended Complaint shows
                                     shows Defendant
                                           Defendant Garcia exercised
                                                            exercised some
                                                                      some

               of care.
        degree of care. Defendant
                        Defendant Garcia's search
                                           search of
                                                  of Plaintiff
                                                     Plaintiff complied
                                                               complied

        with    the
                the        Sheriff's     Office          policies     relating
                                                                      relating      to
                                                                                    to    gender

        classification,
        classification,                                          the safety
                                 which are directed at promoting the safety of

        inmates and prison staff.
        inmates            staff. This shows
                                       shows the
                                             the existence of some
                                                              some degree

           care toward
        of care toward inmates,
                       inmates, including
                                including Plaintiff.
                                          Plaintiff. Under Virginia law,
                                                                    law,

        this   degree       of    care   is
                                         is    all   that     is
                                                              is    necessary    to      preclude

        Plaintiff's gross negligence cause of action.
                                              action.

                       foregoing reasons.
               For the foregoing reasons, Plaintiff
                                          Plaintiff has failed
                                                        failed to state a
                                                                        a

        claim against Defendants Garcia and Wang,
                                            Wang, and the claims against

                       dismissed. An accompanying order shall issue.
        them should be dismissed.                             issue.




                                                           CLAUDE M.
                                                           CLAUDE    HILTON
                                                                  M. HILTON
                                                           UNITED STATES
                                                           UNITED STATES DISTRICT
                                                                         DISTRICT JUDGE
                                                                                  JUDGE

        Alexandria,
        Alexandria, Virginia
        August ~,
        August        2021
                /_£_/ 2021




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                                                                                           JA-060
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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

        KESHA T. WILLIAMS,                           )
                                                     )
               Plaintiff,                            )
                                                     )       Case No. 1:20-cv-1397
                       v.                            )
                                                     )
        STACEY A. KINCAID, et al.,                   )
                                                     )
               Defendants.                           )
                                                     )

                                            NOTICE OF APPEAL

               Notice is hereby given that Kesha T. Williams (“Plaintiff” or “Ms. Williams”) hereby

        appeals to the United States Court of Appeals for the Fourth Circuit from the Order entered in

        this action on August 18, 2021, granting Defendant Deputy Garcia and Xin Wang’s Motion to

        Dismiss and the Order entered in this action on June 7, 2021, granting the Motion to Dismiss by

        Defendant Stacey A. Kincaid. Combined, these Orders resulted in the dismissal of all claims

        stated by Ms. Williams in her Amended Complaint against all Defendants.




                                                     Respectfully submitted,


        Dated: September 16, 2021                    By:            /s/
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                                                     Davia Craumer (VA Bar No. 87426)
                                                     Katherine L. Herrmann (VA Bar No. 83203)
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                                                         1

                                                                                                JA-061
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                                           Counsel for Plaintiff




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                                        CERTIFICATE OF SERVICE

                I hereby certify that on September 16, 2021 a true copy of the foregoing was filed
        electronically with the Clerk of the Court and served electronically using the CM/ECF upon:


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                                                    Counsel for Plaintiff




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